        Case 2:19-bk-14989-WB             Doc 613 Filed 02/19/20 Entered 02/19/20 19:56:55                         Desc
                                          Main Document    Page 1 of 121


    1   Ashley M. McDow (245114)
        John A. Simon (admitted Pro Hac Vice)
    2   Shane J. Moses (250533)
        FOLEY & LARDNER LLP
    3   555 S. Flower St., 33rd Floor
        Los Angeles, CA 90071
    4   Telephone: 213.972.4500
        Email: amcdow@foley.com
    5          jsimon@foley.com
               smoses@foley.com
    6

    7   Attorneys for Debtors and Debtors in
        Possession, SCOOBEEZ, SCOOBEEZ GLOBAL,
    8   INC., and SCOOBUR, LLC
    9

  10                               UNITED STATES BANKRUPTCY COURT
                                    CENTRAL DISTRICT OF CALIFORNIA
  11                                     LOS ANGELES DIVISION
  12
                                                                     Case No. 2:19-bk-14989-WB
  13        In re:                                                   Jointly Administered:
                                                                     2:19-bk-14991-WB; 2:19-bk-14997-WB
  14        SCOOBEEZ, et al.1
                                                                     Chapter 11
  15                   Debtors and Debtors in Possession.

  16        Affects:                                                 DEBTORS’ SUPPLEMENTAL BRIEF
                                                                     (A) IN FURTHER SUPPORT OF THE
  17        ■ All Debtors                                            DEBTORS’ EMERGENCY MOTION FOR
                                                                     PRELIMINARY INJUNCTION TO
  18        □ Scoobeez, ONLY                                         PREVENT VIOLATION OF THE
                                                                     AUTOMATIC STAY, AND (B) IN
  19        □ Scoobeez Global, Inc., ONLY                            OPPOSITION TO AMAZON LOGISTICS
                                                                     INC.’S MOTION MODIFYING THE
  20        □ Scoobur LLC, ONLY                                      AUTOMATIC STAY; DECLARATION OF
                                                                     GEORGE VOSKANIAN
  21
        SCOOBEEZ, INC.,
                                                                     Hearing:
  22                                                                 Date: February 25, 2020
                                          Plaintiff,
        v.                                                           Time: 10:00 a.m.
  23                                                                 Place: Courtroom 1375
        AMAZON LOGISTICS, INC.,                                             U.S. Bankruptcy Court
  24                                                                        255 East Temple Street
                                          Defendant.                        Los Angeles, CA 90012
  25

  26

  27
        1
         The Debtors and the last four digits of their respective federal taxpayer identification numbers are as follows: Scoobeez
  28
        (6339); Scoobeez Global, Inc. (9779); and Scoobur, LLC (0343). The Debtors’ address is 3463 Foothill Boulevard, Glendale,
        California 91214.


4811-1952-6069.1
        Case 2:19-bk-14989-WB               Doc 613 Filed 02/19/20 Entered 02/19/20 19:56:55                                 Desc
                                            Main Document    Page 2 of 121


    1                                                  TABLE OF CONTENTS
        TABLE OF CONTENTS .................................................................................................. 1
    2
        I. INTRODUCTION ......................................................................................................... 1
    3
        II. ADDITIONAL FACTS REVEALED IN DISCOVERY ............................................ 3
    4
                   A.     AMAZON’S POST-PETITION DECISION TO TERMINATE
    5                     SCOOBEEZ WAS BASED SOLELY ON PRE-PETITION WAGE
                          AND HOUR CLAIMS ................................................................................. 3
    6
                   B.     AMAZON IS NOT BEING HARMED, BECAUSE THERE ARE NO
    7                     ISSUES WITH SCOOBEEZ PERFORMANCE ......................................... 4
    8              C.     AMAZON CANNOT IDENTIFY ANY COGNIZABLE HARM IT
                          SUFFERS FROM CONTINUING TO WORK WITH SCOOBEEZ ......... 6
    9
        III. A PRELIMINARY INJUNCTION SHOULD BE GRANTED ................................. 8
  10
                   A.     APPLICABLE LAW SUPPORTS INJUNCTIVE RELIEF........................ 8
  11
                   B.     THE BALANCE OF HARMS CLEARLY SUPPORTS
  12                      INJUNCTIVE RELIEF ................................................................................ 9
  13    IV. THERE IS NO BASIS FOR RELIEF FROM STAY ............................................... 12
  14               A.     THERE IS NO CAUSE FOR RELIEF FROM THE AUTOMATIC
                          STAY.......................................................................................................... 12
  15
                   B.     THE BALANCE OF HARMS STRONGLY FAVORS
  16                      MAINTENANCE OF THE STATUS QUO THROUGH PLAN
                          CONFIRMATION ..................................................................................... 15
  17
        V. CONCLUSION ........................................................................................................... 15
  18

  19

  20

  21

  22

  23

  24

  25

  26

  27

  28

                                                   DEBTORS’ OPPOSITION TO AMAZON MOTION FOR RELIEF FROM STAY
                                                                   -1-                                Case No. 2:19-bk-14989-WB
4811-1952-6069.1
        Case 2:19-bk-14989-WB            Doc 613 Filed 02/19/20 Entered 02/19/20 19:56:55                 Desc
                                         Main Document    Page 3 of 121


    1              Scoobeez, Scoobeez Global, Inc., and Scoobur, LLC, the debtors and debtors in possession
    2   (collectively “Debtors” or “Scoobeez”) in the above-captioned chapter 11 bankruptcy cases (collectively
    3   the “Chapter 11 Cases”), hereby file their supplemental brief (1) in Support of the Emergency Motion
    4   for Temporary Restraining Order and Preliminary Injunction to Prevent Violation of the Automatic Stay
    5   [A.P. Docket No. 2] (the “P.I. Motion”); and (2) in opposition to Amazon Logistics, Inc.’s Notice of
    6   Motion and Motion for an Order: (A) Determining That the Automatic Stay Does Not Require Amazon
    7   to Utilize Debtor’s Services, and (B) Modifying the Automatic Stay [Docket No. 393] (the “Stay Relief
    8   Motion”). This brief further supplements the Debtors’ arguments in the P.I. Motion, the Debtors’
    9   Supplemental Pleading in support of the P.I. Motion [A.P. Docket No. 21] (the “Supplement”) and the
  10    Debtors’ opposition to the Stay Relief Motion [Docket No. 419] (the “Scoobeez Opposition”).
  11

  12                                                I. INTRODUCTION
  13               According to the Fortune Global 500 published on July 22, 2019, the Debtors’ sole customer
  14    Amazon Logistics, Inc. with its affiliates (“Amazon”), is the 13th largest company in the world by
  15    annual revenue, with over $230 billion in revenues during 2018 and 647,000 employees. Based on the
  16    Financial Times Global 500, in 2019, Amazon was one of the three most valuable companies in the
  17    world, with a current market capitalization as of February 19, 2020 of approximately $1.084 trillion
  18    dollars. Amazon is one of the biggest growth stories of the 21st century and its impact in commerce
  19    continues to be unprecedented.
  20               Since 2016, the Debtors have been relentlessly and loyally committed to focusing on Amazon’s
  21    needs, and thus grew to their delivery service provider (“DSP”) business to revolve around Amazon.
  22    After essentially starting operations at zero in 2016, the Debtors generated over $45 million in revenue
  23    in 2019. In fact, the Debtors grew every month, compared with their performance as of the year before,
  24    until Amazon started cutting the Debtors’ delivery routes without notice in August 2019, in the midst of
  25    the Debtors’ chapter 11 proceedings.
  26               Prior to the Petition Date, the Debtors faced certain challenges, including allegations of
  27    mismanagement and misappropriation of funds by their 90-percent shareholder and former Chief
  28    Executive Officer, and attendant cash flow issues. Upon commencing these chapter 11 cases, in

                                               DEBTORS’ OPPOSITION TO AMAZON MOTION FOR RELIEF FROM STAY
                                                            -1-                        Case No. 2:19-bk-14989-WB
4811-1952-6069.1
        Case 2:19-bk-14989-WB            Doc 613 Filed 02/19/20 Entered 02/19/20 19:56:55                Desc
                                         Main Document    Page 4 of 121


    1   accordance with the goals and powers of chapter 11, the Debtors took decisive and effective action to
    2 address the management and misappropriation concerns that existed prior to the Petition Date and

    3 stabilize their business and finances. The Debtors obtained use of cash collateral from their secured

    4 lender, Hillair, under agreed stipulations and orders. In connection with obtaining the use of cash

    5 collateral from Hillair, and resolving concerns of the Official Committee of Unsecured Creditors (the

    6 “Committee”) and then-present requests by the Office of the United States Trustee to appoint a chapter

    7   11 trustee, the Debtors obtained the agreement of their former CEO, the central target of the prepetition
    8   allegations of impropriety, to: (i) step down as Chief Executive Officer; (ii) remove himself and his wife
    9   and a family member and the rest of the prepetition board of directors, and appoint Brian Weiss, the
  10    Chief Restructuring Officer (“CRO”), and two independent members to the board (one of whom was
  11    selected by the Committee); (3) not exercise his shareholder powers to change the board composition
  12    and (4) generally not be involved with the management or financial affairs of Scoobeez or Scoobeez
  13    Global. The Debtors also established that the CRO would have the exclusive right to review and
  14    authorize expenses in excess of $10,000, in order to address any financial misappropriation concerns
  15    going forward.
  16               Having fixed issues that plagued the Debtors prior to the Petition Date, the Debtors hired an
  17    investment banker and conducted a fulsome marketing process to sell or recapitalize their business,
  18    contacting over 200 parties considered after research to be the most likely interested bidders. Many
  19    parties made inquiries as to their interest in acquiring the Debtors’ business. It appeared the Debtors
  20    were on path to have an auction with competing bidding against Hillair as the Stalking Horse Bidder.
  21    The Debtors were on path to exit chapter 11 quickly and safely and protect their business and
  22    employees.
  23               However, Amazon pulled the rug out from the Debtors and destroyed the Debtors’ sale process.
  24    Amazon advised the Debtors that they were going to terminate the Debtors’ contract with Amazon (the
  25    “Amazon Contract”) during the bankruptcy case. Eventually, almost two months after cutting the
  26    Debtors’ routes, Amazon sought relief from the automatic stay to do so. Although Amazon, as one of
  27    the world’s largest companies, faces minimal, if any, harm from continued business with the Debtors
  28    (who receive good scorecards from Amazon as to their delivery performance), such termination would

                                              DEBTORS’ OPPOSITION TO AMAZON MOTION FOR RELIEF FROM STAY
                                                           -2-                        Case No. 2:19-bk-14989-WB
4811-1952-6069.1
        Case 2:19-bk-14989-WB            Doc 613 Filed 02/19/20 Entered 02/19/20 19:56:55               Desc
                                         Main Document    Page 5 of 121


    1   substantially and irreparably harm the Debtors, their reorganization efforts, and their creditors. “Cause”
    2   does not exist to permit Amazon to lift the stay to terminate its contract with the Debtors, and to the
    3   contrary, Amazon should be enjoined from terminating the Amazon Contract. The Debtors have a path
    4   towards reorganization, as evidenced by their negotiation of their Chapter 11 Joint Plan of
    5   Reorganization, which was filed on February 14, 2020 [Docket No. 599], and which is proposed jointly
    6   by the Debtors, Hillair, and the Committee to preserve value for the Debtors and their creditors.
    7              The facts uncovered in discovery, and applicable legal authority, mandate that Amazon’s request
    8   that this Court bless Amazon’s request for authorization to substantially harm the Debtors’
    9   reorganization effort at this delicate stage should be denied.
  10

  11                          II. ADDITIONAL FACTS REVEALED IN DISCOVERY
  12               After extensive discovery, the record only more clearly establishes that (1) Amazon’s basis for
  13    terminating Scoobeez has nothing to do with performance or compliance issues, (2) Scoobeez
  14    performance is at least on par with other DSPs, and (3) Amazon simply does not suffer any material
  15    harm from continuing to maintain route levels to Scoobeez pending plan confirmation.
  16               A.     Amazon’s Post-Petition Decision to Terminate Scoobeez was Based Solely On Pre-
  17                      Petition Wage and Hour Claims
  18               There is no question that Amazon’s decision to terminate Scoobeez was based on only one
  19    factor, which had nothing to do with any concerns regarding Scoobeez performance as a DSP. Rather,
  20    Amazon decided, on August 9, 2019, to terminate Scoobeez based solely one factor: the fact that pre-
  21    petition, Scoobeez had been named in “had been involved in multiple” wage and hour litigations.
  22    Wilson Depo. at 146:1-9; 216:1-19. Scoobeez was one of 15 DSPs that Amazon decided on that date to
  23    terminate based on involvement in wage and hour litigations. Id. The decision to terminate Scoobeez
  24    was based on three pre-petition wage and hour litigations. Wilson Depo., at 300:8-15. In the course of
  25    making this decision, Amazon did not even consider whether any of the claims against Scoobeez had
  26    any merit. Amazon did no analysis in this regard; Amazon’s review was simply “to look at the number
  27    of litigation cases the DSP had.” McCabe Depo. at 49:18-25.
  28

                                              DEBTORS’ OPPOSITION TO AMAZON MOTION FOR RELIEF FROM STAY
                                                           -3-                        Case No. 2:19-bk-14989-WB
4811-1952-6069.1
        Case 2:19-bk-14989-WB            Doc 613 Filed 02/19/20 Entered 02/19/20 19:56:55                Desc
                                         Main Document    Page 6 of 121


    1              On October 7, representatives of the Debtors and Hillair participated in a telephone call with
    2   Amazon’s representatives (the “Amazon Call”). During the Amazon Call, Amazon’s representatives
    3   clearly and expressly stated that Amazon did not intend to do business with the Debtors beyond a brief
    4   transition period, and would reduce the Routes assigned to the Debtors. Amazon’s representative also
    5   expressly stated that Amazon would not consent to do business with Hillair or any other potential
    6   purchaser of the Debtors’ assets, unless limited to a potential brief transition period. See, e.g., Kauffman
    7 Depo. at 352:13-17. During the Amazon Call, Amazon also made it clear that its decision to sever ties

    8 with the Debtors was tied to what it viewed as pre-petition defaults by the Debtors. See, e.g., Kauffman

    9 Depo. at 352:13-17. More specifically, Amazon’s representative stated that Amazon felt that the Debtors

  10 had not adequately fulfilled their duties to defend and indemnify Amazon from third party claims –

  11 claims which each arose prior to the Petition Date related to the wage and hour lawsuits. See, e.g.,

  12 Kauffman Depo. at 352:13-17; McCabe Depo. at 40:18-25.

  13               As Amazon itself testified, neither the fact that Scoobeez was a 1.0 DSP or the Debtors’
  14 performance was a “reason why Scoobez was slotted for termination from the DSP Program.” Wilson

  15 Depo. at 218:13-16. It was all about the prepetition claims under the Amazon Contract for

  16 indemnification from litigation.

  17               B.     Amazon is Not Being Harmed, Because There are no Issues With Scoobeez
  18                      Performance
  19               In deposition, Amazon employees stated that they had “no” concerns with Scoobez’s
  20    performance. Ojeda Depo. at 70:3-6. Indeed, Amazon’s representatives specifically stated that they had
  21    no issues with Scoobeez performance at the time that they informed Scoobeez and Hillair that they were
  22    terminating the Agreement. During the Amazon Call, Amazon’s representatives clearly and expressly
  23    stated that they did not intend to do business with the Debtors beyond a brief transition period, and
  24    would begin reducing the Routes assigned to the Debtors. Amazon’s representative also expressly stated
  25    that Amazon would not consent to do business with Hillair or any other potential purchaser of the
  26    Debtors’ assets, unless limited to a potential brief transition period. See, e.g., Kauffman Depo. at
  27    352:13-17. At the same time, however, Amazon’s representatives acknowledged that they had no issues
  28    with the performance of the Debtors. See, e.g., Kauffman Depo., at 237:15-22.

                                              DEBTORS’ OPPOSITION TO AMAZON MOTION FOR RELIEF FROM STAY
                                                           -4-                        Case No. 2:19-bk-14989-WB
4811-1952-6069.1
        Case 2:19-bk-14989-WB           Doc 613 Filed 02/19/20 Entered 02/19/20 19:56:55                 Desc
                                        Main Document    Page 7 of 121


    1              The evidence clearly shows that there were and are no issues with Scoobeez’s actual
    2   performance. Amazon provides weekly scorecards that are graded on a scale of “fantastic plus,”
    3   “fantastic,” “great,” “fair,” or “poor.” See Wilson Depo., at 204:2-7.
    4

    5

    6                                         See Wilson Depo., at 234:2-7, 239:8-10. In other words, more than
    7 75% of Scoobeez Scorecard ratings were at least “great.” Even Amazon’s own submission in support of

    8 its Stay Relief Motion acknowledges that Scoobeez performance is average for the DSPs in the stations

    9   out of which it operates. See Wilson Declaration in Support of Reply [Docket No. 430] at, p. 16; Wilson
  10    Depo., p. 199:16-205:25 (discussing the table presented in the Wilson Declaration). This is consistent
  11    with the admissions of Amazon’s employees that in their experience Scoobeez performance was as good
  12    as the average Amazon DSP. See Kozin Depo., at 231:21-232:3. In fact, Mr. Ojeda, who was
  13    responsible for the Texas locations that Scoobeez worked out of, testified that there was no reason to
  14    disagree that Scoobeez “did a great job in the stations.” See Ojeda Depo. at 156:5-8.
  15               In other words, unless Amazon views fully half of its DSPs as underperforming, there is no real
  16    concern with Scoobeez performance. It should be noted that Scoobeez performance has, if anything,
  17    only improved during the bankruptcy case, as shown by recent scorecards.
  18               Any pretense of a concern about performance would be just that: pretense. Besides the fact that
  19    Scoobeez performance has been good, the reality is that it would be extraordinary for Amazon to
  20    terminate a DSP based on performance metrics. Mr. Ojeda testified in fact that he was not aware of any
  21    DSP that has been terminated based on scorecard performance. See Ojeda Depo., at 65:13-15. In fact,
  22 Amazon has never taken any adverse action against a DSP based on their performance. Ojeda Depo., at

  23 65: 19-21.

  24               While Scoobeez performance was at least average before, Scoobeez scorecard ratings generally
  25 went up after Ms. Ohanessian was terminated as director of operations and Mr. Scott Sheihk became

  26 more involved in operations. See Sheikh Depo., at 237:20-22. Indeed, at DCH-1 (Chicago), Amazon

  27 provides a “Heavyweight Belt” to what they perceive as the best performing DSP, and that was given to

  28 Scoobeez’ Chicago hub leader in December 2019 or early in 2020. See Sheikh Depo., at 251:20-24.

                                             DEBTORS’ OPPOSITION TO AMAZON MOTION FOR RELIEF FROM STAY
                                                          -5-                        Case No. 2:19-bk-14989-WB
4811-1952-6069.1
        Case 2:19-bk-14989-WB           Doc 613 Filed 02/19/20 Entered 02/19/20 19:56:55               Desc
                                        Main Document    Page 8 of 121


    1   Moreover, Amazon’s representatives, including Victor Kozin and Aarie Hibbler told Mr. Sheikh they
    2   were pleased with Scoobeez’ service and performance. See Sheikh Depo., at 252:7-24.
    3              C.     Amazon Cannot Identify any Cognizable Harm it Suffers From Continuing to Work
    4                     With Scoobeez
    5              Amazon effectively admitted from this outset that it was suffering no ongoing harm as a result of
    6   continuing to work with Scoobeez as a DSP. As discussed in the Scoobeez Opposition, the only
    7   “harms” Amazon alleged it will suffer if relief from the automatic stay is not granted are (1) being
    8   barred from exercising its asserted contractual right to terminate by the automatic stay, and (2) pre-
    9   petition failures to defend and indemnify. See Scoobeez Opposition, p. 16. Neither of these is a
  10    cognizable ongoing harm. The testimony of Amazon’s employees only underscores this reality. As set
  11    forth above, the testimony of Amazon’s employees demonstrations that Scoobeez performance is on par
  12    with other DSPs, and that there are no concerns with Scoobeez performance.
  13               Further, Amazon’s employees could not articulate any actual harm, and certainly not any harm
  14    other than whatever amorphous risk might be associated with operating with a DSP that had been
  15    subject to more than one wage and hour complaint at some point in its history. Mr. Wilson specifically
  16 testified that, other than risks associated with wage and hour litigation, the only harm he could think of

  17 was some sort of theoretical opportunity cost associated with not bringing in other DSPs. See Wilson

  18 Depo., at 329:9-18. As to that “opportunity cost,” Mr. Wilson only testified that having Scoobeez in the

  19 system meant that Amazon could not bring in other DSPs, and therefore it was hindering the ability of

  20 other DSPs to “grow and scale their business.” See Wilson Depo., at 222:6-13. Obviously this is not

  21 even an opportunity cost to Amazon – there is no protectable interest in some other DSP growing its

  22 business. When asked to identify whether there was any actual monetary harm, from these supposed

  23 lost opportunities, Mr. Wilson could not identify any. See Wilson Depo., at 222:10-16.

  24               Likewise, when asked about harms as a result of continuing to do business with Scoobeez, Mr.
  25    McCabe could only identify the cost of the bankruptcy process, the general notion of risk of litigation,
  26    and a vague hinderance to “business planning of an unknown” regarding when the termination would
  27    actually happen. See McCabe Depo., at 199:10-202:25.
  28

                                              DEBTORS’ OPPOSITION TO AMAZON MOTION FOR RELIEF FROM STAY
                                                           -6-                       Case No. 2:19-bk-14989-WB
4811-1952-6069.1
        Case 2:19-bk-14989-WB           Doc 613 Filed 02/19/20 Entered 02/19/20 19:56:55              Desc
                                        Main Document    Page 9 of 121


    1              Amazon has suggested it is somehow harmed by being forced to continue to work with
    2   Scoobeez, because Scoobeez is under its previous “DSP 1.0” Contract, instead of the newer “DSP 2.0”
    3   contract Amazon has moved toward. There is no harm here. Despite Amazon’s representations to the
    4   Debtors and others during this litigation, there are still DSPs similar to the Debtors that Amazon
    5   continues to contract and do business with.
    6                             See Wilson Depo. at. 58:12-14.
    7

    8

    9                                                  See Wilson Depo., at 96:21-25; 97:11. The evidence also
  10 shows that even if Scoobeez wanted to “migrate” to a DSP 2.0 contract, Amazon would not allow it to,

  11 because Amazon temporarily halted migrations as of January 1, 2019, because it wanted to put together

  12 a framework for doing migrations. See Wilson Depo., at 109:17-20. At the same time, Amazon

  13 acknowledges that there is a possibility that other DSP 1.0s like Scoobeez could migrate to the new 2.0

  14    program in the future, once Amazon has a framework for any such migrations. See Wilson Depo., at
  15 109:17-20. Amazon’s own decision to put a pause on migration of DSP 1.0s is not “cause” for relief

  16 from the stay, nor harm to Amazon.

  17               As discussed above, based on Amazon’s own admissions, whether or not Scoobeez was a “DSP
  18 1.0” or “DSP 2.0” was not the reason for Amazon’s termination of Scoobeez. However, Scoobeez did

  19 not have a position that it would never transition to a DSP 2.0. See Voskanian Depo., at 275:1-7.

  20 Scoobeez in fact never received from Amazon a final structure of what a DSP 2.0 migration might look

  21 like. See Voskanian Depo., at 277:22-24. To the contrary, the Debtors would have moved to DSP 2.0 if

  22 Amazon told them they had to do so. See Voskanian Depo., at 288:20-24.

  23               In addition, the reality is that Amazon’s DSP program is growing rapidly to add DSPs for
  24    delivery capacity, and there is therefore no basis to argue that doing business with Scoobeez is harming
  25    Amazon’s ability to bring in other DSPs.
  26

  27                                                                      Wilson Depo., at 84:7-9; 85:18-25.
  28

                                             DEBTORS’ OPPOSITION TO AMAZON MOTION FOR RELIEF FROM STAY
                                                          -7-                       Case No. 2:19-bk-14989-WB
4811-1952-6069.1
        Case 2:19-bk-14989-WB             Doc 613 Filed 02/19/20 Entered 02/19/20 19:56:55                  Desc
                                          Main Document    Page 10 of 121


    1              Moreover, as far as any concerns Amazon has about prepetition issues the Debtors’ had, and
    2   their integrity, such as the pre-bankruptcy alleged misappropriation of funds, and the Ohanessian’s
    3   alleged conduct (including the former Chief Financial Officer’s whistleblower letter), the post-
    4   bankruptcy operational controls of having a Chief Restructuring Officer and payment approval by him
    5   over $10,000 and 3 independent board members was oversight that sufficiently corrected any
    6   issues. See Sheikh Depo., at 288:7-22. The Debtors’ secured lender, Hillair, also testified that
    7   bankruptcy had fixed the company’s issues. See Scoot Kaufman Depo., at 300:12-19 (Since the
    8   company went into bankruptcy: “For lack of better words, the transgressions of the past have stopped
    9   that we didn’t know about. Now that we’ve known about them, they’ve been fixed; they’ve been
  10    stopped. The company has tremendous reporting standards to the government, to the bankruptcy
  11    courts. And it’s performed very well for Amazon.”)
  12

  13                      III. A PRELIMINARY INJUNCTION SHOULD BE GRANTED
  14               A.     Applicable Law Supports Injunctive Relief
  15               This Court has the broad authority to enter injunctive relief not only to enforce specific
  16    Bankruptcy Code provisions, but also to "protect the general purpose and intent of the Bankruptcy
  17    Code." In re Whitaker, 341 B.R. 336, 346-47 (S.D. Ga. 2006); In re Family Health Servs., 105 B.R. 937,
  18 943 (C.D. Cal. 1989). The law supporting entry of a preliminary injunction is discussed fully in the P.I.

  19 Motion. In general, injunctive relief may be based either on the traditional factors for injunctive relief,

  20 or specific bankruptcy considerations. The traditional factors are (1) irreparable harm, (2) probable

  21 success on the merits, (3) a balance of hardships that tips in the movant's favor, and (4) that a

  22 preliminary injunction is in the public interest. See, In re Family Health Servs., Inc., 105 B.R. at 943

  23 (citing F.T.C. v. Evans Prods. Co., 775 F.2d 1084, 1088-89 (9th Cir. 1985)). These four injunction

  24 factors are not prerequisites to relief; rather, they are factors to be balanced in considering whether the

  25 requested relief is appropriate. Liberty Coins, LLC v. Goodman, 748 F.3d 682, 690 (6th Cir 2014).

  26               It is well established that a loss of the ability to operate a business amounts to irreparable harm.
  27 See Doran v. Salem Inn, Inc., 422 U.S. 922 (1975); Stenberg v. Cheker Oil Co., 573 F.2d 921, 924 (6th

  28 Cir. 1978) (“[I]rreparable harm may be established by” “proof of … severe financial hardship” that

                                               DEBTORS’ OPPOSITION TO AMAZON MOTION FOR RELIEF FROM STAY
                                                             -8-                         Case No. 2:19-bk-14989-WB
4811-1952-6069.1
        Case 2:19-bk-14989-WB             Doc 613 Filed 02/19/20 Entered 02/19/20 19:56:55                     Desc
                                          Main Document    Page 11 of 121


    1   causes plaintiff’s business to be “completely wiped out.”); N.W. Controls v. Outboard Marine Corp.,
    2 317 F. Supp. 698, 703 (D. Del. 1970) (“Where the economic loss involved would be so great as to

    3 threaten destruction of the moving party’s business, a preliminary injunction should be issued to

    4 maintain the status quo.”)

    5              The additional factors in the bankruptcy context include: “1. Will the threatened actions interfere
    6 with, deplete or adversely affect property of the bankruptcy estate? 2. Will the threatened actions

    7 frustrate the statutory bankruptcy scheme? 3. Will the threatened actions interfere with the bankruptcy

    8 rehabilitative process? 4. If one or more of the foregoing effects is/are present, is the requested stay

    9   reasonable as to scope and duration? 5. If one or more of the foregoing effects is/are present, are
  10    appropriate means available to protect the non-debtor party’s interests?” In re Casner, 302 B.R. 695,
  11    703-704 (E.D. Cal. 2003).
  12               Applying either analysis, as set forth in the P.I. Motion, injunctive relief is appropriate here.
  13    Whether to grant the Debtors the requested injunction is within the discretion of the court. Synanon
  14 Found., Inc. v. California, 444 U.S. 1307, 100 S. Ct. 496 (1979). The Debtors submit that the Court

  15 should exercise that discretion to preserve the status quo pending plan confirmation.

  16               B.      The Balance of Harms Clearly Supports Injunctive Relief
  17               After extensive discovery, it is clear that the situation is exactly as set forth in the initial briefing
  18    on the P.I. Motion: the balance of harms tips dramatically in Scoobeez’s favor. Amazon will suffer at
  19    most negligible harm from continuing to work with Scoobeez, whereas Scoobeez will suffer catastrophic
  20    harm if Amazon is allowed to unilaterally terminate (either actually or functionally) prior to Joint Plan
  21    confirmation.
  22               Amazon employees have acknowledged that Scoobeez’s performance is and remains par for its
  23    DSPs. Both the subjective impression of the Amazon employees responsible for dealing with Scoobeez,
  24    and Amazon’s analytics model, establish that Scoobeez is average. See Kozin Depo., at 231:21-232:3;
  25    Wilson Depo., p. 199:16-205:25 (discussing the table presented in the Wilson Declaration). There
  26    simply cannot be any coherent argument that Amazon is being harmed with regard to any material
  27    element of the contractual relationship by continuing to do business with a DSP that is on par with its
  28    average performing DSPs.

                                                DEBTORS’ OPPOSITION TO AMAZON MOTION FOR RELIEF FROM STAY
                                                              -9-                          Case No. 2:19-bk-14989-WB
4811-1952-6069.1
        Case 2:19-bk-14989-WB           Doc 613 Filed 02/19/20 Entered 02/19/20 19:56:55               Desc
                                        Main Document    Page 12 of 121


    1              Amazon can produce no evidence that it will suffer harm if it does not receive authorization from
    2   this Court to terminate the Amazon Contracts, whether expressly or otherwise.
    3

    4

    5                                                                                     (McCabe Depo. at 99:17-
    6   18); (2) issues regarding business planning due to the “unknown” timelines; (McCabe Depo. at 199:18-
    7   19); (3) being in a relationship with a DSP who has been subject to “multiple litigation” (Wilson Depo.
    8   at 221:16-222:2); and (4) “hindering” Amazon’s ability “ability to grow and scale their businesses”
    9 [apparently referring to other DSPs] because we planned “to not have [Scoobeez] in our network.”

  10 Wilson Depo. at 222:7-11.

  11               Preliminarily, even if they were true, these amorphous “harms” would not come close to
  12 outweighing the real and substantial harm that would that would be suffered by the Debtors from

  13    termination or further reduction in routes below historical levels. Upon closer examination, however,
  14    Amazon’s rationales are simply excuses and should be rejected outright.
  15               First, it is an axiomatic principle of bankruptcy law that Amazon cannot claim they are somehow
  16    “harmed” by the bankruptcy and the related filings. The suggestion is absurd, since the litigation is the
  17 result of Amazon’s unilateral actions to seek termination of the Agreement. Such a rationale should be

  18 rejected outright.

  19               Second, Amazon has testified that even once Amazon decides to terminate a DSP, there is no
  20 firm time table: “the average time it takes from a notification to an exit is somewhere around 75 days…

  21 with a very wide range of some taking less, like three weeks, others taking much longer, like six months

  22    or longer.” McCabe Depo. at 15-19. Thus, the uncertainty is not unusual. Regardless, this argument
  23 again ignores reality that the uncertainty Amazon complains of is solely the result of Amazon’s

  24 actions. If Amazon wanted certainty in is planning, all it would have to do is agree to continue to work

  25 with Scoobeez for an agreed time period.

  26               Third, the supposed risks associated with wage and hour litigation are illusory. Amazon’s
  27 position is based on three litigation matters, all of which are pre-petition. Terminating now in no way

  28 impacts Amazon’s costs associated with those litigations. Further, one of the cases was already settled

                                              DEBTORS’ OPPOSITION TO AMAZON MOTION FOR RELIEF FROM STAY
                                                          -10-                       Case No. 2:19-bk-14989-WB
4811-1952-6069.1
        Case 2:19-bk-14989-WB            Doc 613 Filed 02/19/20 Entered 02/19/20 19:56:55               Desc
                                         Main Document    Page 13 of 121


    1   pre-petition, another has now settled in principle, and a third included allegations that the plaintiff was
    2 battered by an Amazon employee (undermining the suggested that Scoobeez’s was the cause of the

    3 complaint). It should also be noted that the pending settlement of the Vega/Key PAGA case will bar

    4 any other California wage and hour claims, substantially reducing any risk there might be to Amazon.

    5

    6                        See Wilson Depo. at 84:7-9; 85:18-25. There is no testimony, nor could there be
    7   testimony, that Scoobeez is somehow taking the “spot” of another DSP, given Amazon’s substantial
    8   projected growth.
    9              In contrast, allowing Amazon to lift the stay and terminate the Amazon Contract immediately as
  10    requested by Amazon would cause substantial destruction of the Debtors’ businesses and reorganization
  11    efforts, cause the Debtors to potentially incur administrative claims and become administratively
  12    insolvent (including due to WARN Act liability, which requires 60 days advance notice of closure to
  13    avoid), and needlessly disrupt the lives of the Debtors’ employees.
  14               On Feburary 14, 2020, the Debtors filed their Chapter 11 Joint Plan of Reorganization, supported
  15    and agreed among the Debtors, their secured lender Hillair and the Committee on behalf of general
  16    unsecured creditors. The Plan calls for a reorganization of the Debtors, provided they continue to meet
  17    a threshold amount of net working capital. The Plan provides a $1.5 million carveout for the Estates,
  18    and a trust with litigation claims and potential excess from the carveout in which Class 4 General
  19    Unsecured Creditors share if they vote in favor of the Plan. The Plan provides more value to the estate
  20    and its constituents than would result from a chapter 7 conversion. The Debtors expect to imminently
  21    file their disclosure statement and motion seeking approval of solicitation procedures, in order to pursue
  22    confirmation of the Plan. If the Court allows Amazon to terminate the Amazon Contract as requested by
  23    Amazon, it would derail the Plan and the Debtors and their constituents will be irreparably harmed.
  24               The Debtors have a reorganization under their chapter 11 Plan in sight with the support of their
  25    secured lender Hillair and the Committee on behalf of general unsecured creditors. The Debtors require
  26    runway in order to achieve it, as intended by the Bankruptcy Code and the automatic stay.
  27

  28

                                              DEBTORS’ OPPOSITION TO AMAZON MOTION FOR RELIEF FROM STAY
                                                          -11-                        Case No. 2:19-bk-14989-WB
4811-1952-6069.1
        Case 2:19-bk-14989-WB             Doc 613 Filed 02/19/20 Entered 02/19/20 19:56:55                         Desc
                                          Main Document    Page 14 of 121


    1                           IV. THERE IS NO BASIS FOR RELIEF FROM STAY
    2              As abundantly discussed in the oppositions of the Debtors [Docket No. 419], the Committee
    3   [417] and Hillair [418], to Amazon’s motion requesting that this Court lift the automatic stay, the
    4   Debtors’ rights under the critical Amazon Contract are entitled to the fundamental protection of the
    5   automatic stay as property of the estate. 11 U.S.C. §§ 541(a)(1), 326(a)(3); see also In re Computer
    6   Communications, Inc., 824 F.2d 725, 729 (9th Cir. 1987); In re Carroll, 903 F.2d 1266, 1271 (9th Cir.
    7   1990). The automatic stay promotes the goal of equality of distribution by preventing piecemeal
    8   dismemberment of the bankruptcy estate while assuring that the debtor in possession has an opportunity
    9   to use property necessary for an effective reorganization. See Plumberex Specialty Products, Inc., 311
  10    B.R. 551, 556 (Bankr. C.D. Cal. 2004). Precisely in accordance with that key goal of chapter 11, the
  11    Debtors propose that the Court maintain the status quo to prevent dismemberment of their estates, and
  12    not allow Amazon to terminate its contract, which is the lifeblood of the Debtors’ business, while the
  13    Debtors are trying to reorganize through their pursuit of confirmation of the Plan proposed by the
  14    Debtors, Hillair and the Committee.
  15               Unless an exception applies, the automatic stay prohibits any acts to terminate or modify an
  16    estate’s interests in a contract and therefore the Court should prevent Amazon from doing so. In re
  17    FirstEnergy Solutions Corp., 596 B.R. 631, 636 (Bankr. N.D. Ohio 2019); see also In re National
  18    Environmental Waste Corp., 191 B.R. 832, 834 (Bankr. C.D.Cal. 1996) (“since Ninth Circuit law holds
  19    that contract rights constitute property of the estate, the City’s unilateral termination of Newco’s
  20    contract is clearly an action exercising control over property of the estate”).
  21               A.     There is No Cause for Relief from the Automatic Stay
  22               Amazon has failed to meet its burden of proof that “cause” exists to lift the automatic stay as
  23    requested by Amazon pursuant to section 362(d)(1) of the Bankruptcy Code. Plumberex, 311 B.R. at
  24 557.2 As fully set forth in the Scoobeez Opposition, Amazon cannot establish “cause” based solely on a

  25 contractual right to terminate.

  26

  27    2
          Amazon has not even argued that the Debtors do not have equity in the Amazon Contract or that the Amazon Contract is not
        necessary to an effective reorganization pursuant to section 362(d)(2), presumably because Amazon understands that the
  28
        Debtors have such equity and the Amazon Contract is necessary for the Debtors to have an effective reorganization.
        Therefore, Amazon’s request to modify the automatic stay should be denied.
                                                  DEBTORS’ OPPOSITION TO AMAZON MOTION FOR RELIEF FROM STAY
                                                              -12-                            Case No. 2:19-bk-14989-WB
4811-1952-6069.1
        Case 2:19-bk-14989-WB           Doc 613 Filed 02/19/20 Entered 02/19/20 19:56:55                Desc
                                        Main Document    Page 15 of 121


    1              Amazon provides no evidence to support its contention that its rights under the Amazon
    2   Contracts are not adequately protected. Moreover, Amazon also fails to provide any legal authority that
    3   would support its position that it is entitled to any adequate protection of its right to termination, beyond
    4   the Debtors’ continued performance under the Amazon Contract, which is not in dispute. That is
    5   because there is no such law. Indeed, a finding that relief could be granted based on a lack of adequate
    6   protection of a termination provision would turn the purpose of the automatic stay on its head, because
    7   every contract counter-party with a contractual right to termination would be entitled to relief from stay.
    8   For this reason, courts have held that “cause” to lift the stay does not arise from a lack of adequate
    9   protection of a termination clause. See In re O-Jay Foods, Inc., 110 B.R. 895, 897 (Bankr. D. Minn.
  10    1989); In re Deppe, 110 B.R. 898, 907 (Bankr. D. Minn. 1990).
  11               Contrary to Amazon’s assertions, Amazon’s rights under the Amazon Contracts are clearly
  12    protected by the Debtors continued performance thereunder. Since the commencement of the Chapter
  13    11 Cases, the Debtors have continued to perform in an exemplary fashion – a fact which Amazon clearly
  14    does not dispute as it does not even allege that the Debtors have failed to perform any of their delivery
  15    obligations. Indeed, the admissible evidence demonstrates that Amazon has rewarded the Debtors’
  16    performance with extremely high marks, and acknowledges that it had no issues with the performance of
  17    the Debtors. To the extent that Amazon is entitled to adequate protection, the Debtors’ continued
  18    performance is more than sufficient. See In re Nat’l Hydro-Vac Indus. Serv., L.L.C., 262 B.R. 781, 787
  19    (Bankr. E.D. Ark. 2001). As discussed in above, and as was evidenced by the deposition of James
  20    Wilson, Amazon’s own internal documents show that more than 75% of the Debtors’ Scorecard ratings
  21    by Amazon were at least “great”. The Debtors’ efforts to run their businesses better, through changes in
  22    chapter 11, has worked, as evidenced by Amazon’s admission that the Debtors’ performance is on par
  23 with the other Delivery Service Providers in the same Amazon hubs. See Kozin Depo., at 231:21-232:3.

  24               The evidence revealed in discovery, as discussed above, proves that Amazon’s only reason for
  25 terminating Scoobeez was because of 3 litigations that were commenced pre-petition. See Wilson Depo.

  26 at 300:8-15. However, in evaluating whether “cause” exists to lift the automatic stay, Bankruptcy

  27 Courts focus more on whether cause presently exists, rather than whether it existed in the past.

  28    Amazon’s complaints about the way the company was run prior to the chapter 11 bankruptcy filing

                                             DEBTORS’ OPPOSITION TO AMAZON MOTION FOR RELIEF FROM STAY
                                                         -13-                        Case No. 2:19-bk-14989-WB
4811-1952-6069.1
        Case 2:19-bk-14989-WB           Doc 613 Filed 02/19/20 Entered 02/19/20 19:56:55              Desc
                                        Main Document    Page 16 of 121


    1   (which, again, the evidence indicates are the actual reason for Amazon’s termination and lift stay effort,
    2   rather than any other noise Amazon has alleged), are not appropriate bases for “cause” given the
    3   Debtors’ transformation using chapter 11. Those issues are in the past and do not constitute the requisite
    4   “cause” required by the Bankruptcy Code. The case In re Holly’s, Inc., 140 B.R. 643, is illustrative. In
    5 that case, a creditor argued that “cause” existed for the Court to lift or modify the automatic stay,

    6 because of alleged prepetition breaches, mismanagement and financial malfeasance (including

    7 misappropriation of funds, increases in salary on the eve of bankruptcy and failure to pay taxes) under

    8   the prior, deceased CEO (who ruled the debtor like a “Czar” as “his company”). Id. at 689. The
    9   Bankruptcy Court determined that the problems were due to the prior CEO and current postpetition
  10    management made efforts to correct the mismanagement, such as using separate bank accounts,
  11    improving their financial reporting and implementing a different organizational management structure.
  12    Therefore, the Bankruptcy Court ruled that prepetition mismanagement should not be considered
  13    sufficient “cause” to modify the stay. Id. at 690. Similarly, in this case, the Debtors resolved any
  14    alleged mismanagement or financial improprieties through the chapter 11 process, as intended, including
  15    through separation with the former CEO who was the alleged mastermind of any misappropriation of
  16    funds and establishment of financial reporting and a new corporate governance structure including Chief
  17    Restructuring Officer, a new board of directors and a requirement for prior approval by the CRO of
  18    payments above $10,000. Therefore, as in the Holly’s case, “cause” does not exist to lift the stay.
  19               Moreover, and despite what Amazon would have this Court believe, it is far from clear that
  20    Amazon actually has an unfettered right to terminate the Amazon Contracts on just thirty (30) days’
  21    notice. The provision that allegedly gives Amazon this right expressly only applies to the Terms (as that
  22    term is defined in the Amazon Contracts), leaving the provisions of the current work order in place.
  23    Even if the Terms were cancelled, the current Work Order would remain in effect, and the duty of good
  24    faith and fair dealing would require Amazon to act consistent with that duty in winding up the
  25    contractual relationship.
  26

  27

  28

                                             DEBTORS’ OPPOSITION TO AMAZON MOTION FOR RELIEF FROM STAY
                                                         -14-                       Case No. 2:19-bk-14989-WB
4811-1952-6069.1
        Case 2:19-bk-14989-WB           Doc 613 Filed 02/19/20 Entered 02/19/20 19:56:55                Desc
                                        Main Document    Page 17 of 121


    1              B.     The Balance of Harms Strongly Favors Maintenance of the Status Quo Through
    2                     Plan Confirmation
    3              Even to the extent “cause” exists (which it does not) the Court would consider a balancing of
    4   harms in determining whether to grant relief from stay. For the reasons set forth above with regard to
    5   the balance of harms with regard to injunctive relief, any rational evaluation of harms clearly tips
    6   heavily in favor of the Debtors, and maintaining the going concern value of their business pending
    7   confirmation of the Joint Plan.
    8

    9                                                V. CONCLUSION
  10               For the reasons set forth in the P.I. Motion, the Supplement, the Scoobeez Opposition, and as
  11    further set forth above, the Debtors respectfully request that this Court (1) deny the relief sought by and
  12    through the Stay Relief Motion, (2) enter a preliminary injunction to maintain the status quo through
  13    plan confirmation, and (3) award such other relief as this Court may deem just and proper.
  14
        DATED: February 19, 2019                          FOLEY & LARDNER LLP
  15

  16
                                                          /s/ Shane J. Moses
  17                                                      Shane J. Moses

  18                                                      Attorneys for Debtors and Debtors-in-Possession
                                                          SCOOBEEZ, SCOOBEEZ GLOBAL, INC., and
  19                                                      SCOOBUR, LLC

  20

  21

  22

  23

  24

  25

  26

  27

  28

                                              DEBTORS’ OPPOSITION TO AMAZON MOTION FOR RELIEF FROM STAY
                                                          -15-                       Case No. 2:19-bk-14989-WB
4811-1952-6069.1
        Case 2:19-bk-14989-WB          Doc 613 Filed 02/19/20 Entered 02/19/20 19:56:55                  Desc
                                       Main Document    Page 18 of 121


    1                                  DECLARATION OF GEORGE VOSKANIAN
    2   I, George Voskanian, hereby declare as follows:
    3              1.   I am over 18 years of age. I have personal knowledge of the facts set forth herein, and, if
    4   called as a witness, could and would testify competently with respect thereto.
    5              2.   I am the Chief Financial Officer and Co-Chief Executive Officer for the Debtors, and, in
    6   those capacities, among other, maintain books, records, files and documents relating to the Debtors. As
    7   such, I am generally responsible for managing the operations of the Debtors and, thus, am familiar with
    8   the Debtors’ operations, assets, and liabilities. In the ordinary course of business, I rely on the
    9   maintenance of true and correct copies of various documents relating to the Debtors. I have personally
  10    worked on books, records, files and documents, and as to the following facts, I know them to be true of
  11    my own knowledge or I have gained knowledge of them from my business records, which were made at
  12    or about the time of the events recorded, and which are maintained in the ordinary course of the
  13    Debtors’ business at or near the time of the acts, conditions or events to which they related.
  14               3.   I make this declaration in support of the Debtor’s motion for preliminary injunction (the
  15    “P.I. Motion”) and the Debtor’s opposition to Amazon’s motion for relief from stay (the “Scoobeez
  16    Opposition”), and specifically in support of the supplemental pleading to which this declaration is
  17    annexed.1
  18               4.   Attached hereto as Exhibit A are true and accurate charts showing total Routes per
  19    month, and total revenue under the Amazon Contract for 2018, 2019, and 2020 to date. This also shows
  20    that whereas 2018 showed the expected seasonal increase in Routes entering the fall, Routes in 2019 did
  21    not include any peak season increase, and instead decreased overall from September through December
  22    2019.
  23               5.   Attached hereto as Exhibit B is a true and accurate summary of Scoobeez scorecard
  24    overall ratings from week 1, 2019 through present. Both the numerical table and the chart show the
  25    overall rating for each station on a 1 through 4 scale. Under Amazon’s current scorecard system, a 1 on
  26    the attached chart represents “poor,” 2 represents “fair,” 3 represents “great,” and 4 represents both
  27

  28    1
         All capitalized terms used herein shall have the same meaning ascribed in the P.I. Motion and
        Scoobeez Opposition, unless otherwise stated.
                                                                                        DECLARATION OF G. VOSKANIAN
                                                          -1-
4816-0895-0709.1
        Case 2:19-bk-14989-WB            Doc 613 Filed 02/19/20 Entered 02/19/20 19:56:55                 Desc
                                         Main Document    Page 19 of 121


    1   “fantastic” and “fantastic plus.” Under the prior scorecards, there were only four levels, so fantastic and
    2   fantastic plus were both represented here as a 4 for consistency, and to create a conservative
    3   representation. As can clearly be seen, Scoobeez scorecards since week 39 of 2019 have been almost
    4   universally at least “great.”
    5              6.     Attached hereto as Exhibit C are true and correct copies of the Scoobeez scorecards for
    6   week six of 2020. All twelve scorecards have an overall rating of “fantastic” or “fantastic plus.”
    7              I declare under penalty of perjury under the laws of the United States of America that the foregoing
    8   is true and correct to the best of my knowledge, information and belief.
    9              Executed this 19th day of February, 2020.
  10

  11

  12                                                              GEORGE VOSKANIAN
                                                                  Co-CEO and Chief Financial Officer
  13

  14

  15

  16

  17

  18

  19

  20

  21

  22

  23

  24

  25

  26

  27

  28

                                                                                         DECLARATION OF G. VOSKANIAN
                                                            -2-
4816-0895-0709.1
Case 2:19-bk-14989-WB   Doc 613 Filed 02/19/20 Entered 02/19/20 19:56:55   Desc
                        Main Document    Page 20 of 121




                  EXHIBIT A
                                                                        Case 2:19-bk-14989-WB                                                   Doc 613 Filed 02/19/20 Entered 02/19/20 19:56:55                                                                                                      Desc
                                                                                                                                                Main Document    Page 21 of 121

                                     Jan‐18      Feb‐18     Mar‐18       Apr‐18     May‐18       Jun‐18      Jul‐18     Aug‐18       Sep‐18      Oct‐18     Nov‐18         Dec‐18          Jan‐19      Feb‐19     Mar‐19       Apr‐19     May‐19       Jun‐19      Jul‐19     Aug‐19       Sep‐19      Oct‐19     Nov‐19         Dec‐19          Jan‐20      Feb‐20
Chicago
DCH1
  Number of routes ‐ AM (Monthly)        723         604         695         669         683         592         703         755         771         864             931        1,130          644         686         744         767        1,019        957        1,106       1,228        976         681             805            822        736          178
  Number of routes ‐ PM (Monthly)        333         305         340         308         313         308         331         342         326         336             308          325          306         300         334         298          363        308          326         319        341         363             352            338        346           87
DCH2
  Number of routes (Monthly)             476         514         534         503         510         490         507         495         493         508             467            575        445         407         453         431         587         492         564         634         660         820             823            800        600          136
DCH3
  Number of routes (Monthly)              600         533         599         574         572         577         568         531         567         534          447            631           407         352         376         333         469         419         474         434         379         453          420            492           497         127
Total                                   2,132       1,956       2,168       2,054       2,078       1,967       2,109       2,123       2,157       2,242        2,153          2,661         1,802       1,745       1,907       1,829       2,438       2,176       2,470       2,615       2,356       2,317        2,400          2,452         2,179         528

Los Angeles
DLA3
  Number of routes (Monthly)             717         632         730         619         660         673         684         707         712         796             874            983        771         675         751         794        1,103        946        1,040       1,095        947         620             601            618        587          147
  Number of routes ‐ PM                  274         248         282         306         312         304         301         386         414         344             236            219        126         ‐           ‐           ‐            ‐
DLA8
  Number of routes (Monthly)             642         554         597         538         559         563         591         605         540         582             635            683        641         542         609         595         779         641         755         740         670         667             734            802        571          138
  Number of routes ‐ PM                  271         253         278         266         278         270         269         277         265         178               5            ‐          ‐           ‐           ‐           ‐           ‐
DLA9
  Number of routes (Monthly)             738         669         787         661         709         721         756         849         883         987         1,308          1,400          829         803         917         851        1,108        835         893         898         796         669             632            717        560          137
DPS1
  Number of routes (Monthly)              ‐           ‐           ‐           ‐           ‐           ‐           ‐           ‐           ‐           125          554            706           534         461         507         556         899         759         881         786         740         939          926            952           870         224
Total                                   2,642       2,356       2,674       2,390       2,518       2,531       2,601       2,824       2,814       3,012        3,612          3,991         2,901       2,481       2,784       2,796       3,889       3,181       3,569       3,519       3,153       2,895        2,893          3,089         2,588         646

Texas
DAU1
  Number of routes (Monthly)             955         787         858         885         854         892         974         954        1,078       1,571        1,664          1,764         1,444       1,072       1,253       1,151       1,468       1,171       1,342       1,344       1,287       1,251        1,112          1,142          893          206
DDA1
  Number of routes (Monthly)              ‐           ‐           ‐           ‐          156         492         629         533         547         528             678            941        464         305         355         442         824         737         754         741         681         665             668            695        559          144
DDA2
  Number of routes (Monthly)             707         710         799         798         763         707         871         969         953        1,059        1,290          1,336         1,170       1,011       1,119       1,100       1,494       1,233       1,386       1,441       1,256        809             985        1,182         1,169         319
DDA3
  Number of routes (Monthly)             907         620         823         755         757         805         765         728         839         917         1,224          1,475         1,029        623         724         736        1,225        956        1,162       1,189        996         905             953        1,254         1,101         248
SAT5
  Number of routes (Monthly)              689         639         687         689         749         677         810         899         875         903          841          1,285         1,079         901       1,135       1,064       1,412       1,233       1,321       1,228         964         801          556            782           666         151
Total                                   3,258       2,756       3,167       3,127       3,279       3,573       4,049       4,083       4,292       4,978        5,697          6,801         5,186       3,912       4,586       4,493       6,423       5,330       5,965       5,943       5,184       4,431        4,274          5,055         4,388       1,068
Total                                  8,032       7,068       8,009       7,571       7,875       8,071       8,759       9,030       9,263      10,232        11,462         13,453        9,889       8,138       9,277       9,118      12,750      10,687      12,004      12,077      10,693       9,643         9,567         10,596        9,155        8,127
                                                                                                                                                                                                                                                                                                                                                            AS OF 2/8
                                    01/31/18    02/28/18    03/31/18    04/30/18    05/31/18    06/30/18    07/31/18    08/31/18    09/30/18    10/31/18    11/30/18       12/31/18       01/31/19    02/28/19    03/31/19    04/30/19    05/31/19    06/30/19    07/31/19    08/31/19    09/30/19    10/31/19    11/30/19       12/31/19       01/31/20    02/29/20
                                       8,032       7,068       8,009       7,571       7,875       8,071       8,759       9,030       9,263      10,232        11,462         13,453        9,889       8,138       9,277       9,118      12,750      10,687      12,004      12,077      10,693       9,643         9,567         10,596        9,155        8,127
                           Case 2:19-bk-14989-WB                      Doc 613 Filed 02/19/20 Entered 02/19/20 19:56:55                                                 Desc
                                                                      Main Document    Page 22 of 121


                                                                                      Chart Title
16,000

14,000                                                                                                                                               12,004
                                                                                          13,453
                                                                                                                                   12,750
12,000                                                                                                                                                        12,077                  10,596
                                              8,759           9,263              11,462
                   8,009                                                10,232                                                              10,687                     10,693                  9,155
10,000                        7,875                                                                9,889
                                                                                                                   9,277   9,118
 8,000   8,032                                                                                             8,138                                                                   9,567               8,127
                                                                                                                                                                           9,643
                                                      9,030
 6,000                                8,071
                      7,571
 4,000     7,068

 2,000

    ‐
3:58 PM
                                                                  Case 2:19-bk-14989-WB                                                                Doc 613 FiledScoobeez
                                                                                                                                                                        02/19/20 Entered 02/19/20 19:56:55                                                                                                            Desc
02/19/20
Accrual Basis                                                                                                                                          Main Document          Page 23 of 121
                                                                                                                                                                   Profit & Loss
                                                                                                                                                                                        August 2018 through April 2019



                                                Revenue       Aug 18       Sep 18       Oct 18       Nov 18       Dec 18        Jan 19        Feb 19       Mar 19         Apr 19        May 19        June 19        July 19           August 19         September 19         October 19         November 19          December 19

   Ordinary Income/Expense
           Income
                44000 ꞏ Sales
                    40200 ꞏ AMZL
                        40201 ꞏ DCH1 - Alsip, IL             387,715.35   389,778.10   408,302.15    502,698.12   590,872.82    578,761.09   342,881.52    390,339.81    417,402.36     434,824.11     461,504.96     493,058.37           543,466.51            458,081.01        347,459.03           367,810.09           399,682.54
                        40213 ꞏ DDA3 - Ft. Worth, TX         265,548.34   319,023.91   316,311.55    459,287.71   516,378.91    443,325.20   236,921.31    292,573.60    311,313.49     387,697.04     389,723.78     396,840.94           394,505.78            326,088.00        296,158.53           343,567.19           458,059.08
                        40216 ꞏ SAT5 - San Antonio, TX       316,922.81   309,773.31   305,403.87    423,352.15   453,856.61    406,756.94   326,243.32    423,670.68    415,338.73     462,039.37     458,852.35     468,258.22           464,807.79            373,127.00        303,994.44           242,540.70           311,092.38
                        40217 ꞏ DDA1 - Farmers Branch, TX    170,820.12   171,279.85   154,617.09    282,052.75   283,058.96    145,073.30    98,061.59    126,318.16    161,733.85     208,059.97     235,460.52     220,962.30           217,389.12            200,631.96        214,137.90           213,655.15           219,293.35
                        40218 ꞏ DDA2 - Garland, TX           355,303.30   352,475.80   351,687.98    472,693.29   468,427.13    420,467.10   345,505.04    394,688.70    387,887.90     447,728.24     437,563.46     478,496.92           483,213.67            420,598.04        304,440.44           388,205.55           422,413.26
                        40223 ꞏ DCH3 - Lisle, IL             203,749.66   224,749.26   205,027.70    236,501.04   316,279.51    173,758.39   141,814.14    163,773.09    151,206.82     170,150.44     192,365.58     183,050.31           175,484.05            162,979.00        189,619.36           176,691.00           212,625.93
                        40224 ꞏ DLA3 - Commerce              358,748.49   371,530.04   358,097.86    412,314.18   423,823.06    314,977.44   239,891.18    248,709.57    307,399.27     355,648.23     358,395.95     374,815.50           398,955.09            345,166.00        233,602.75           244,720.11           259,861.61
                        40226 ꞏ DLA8 - Hawthorne,            288,542.63   271,718.80   248,080.64    318,568.17   257,370.53    246,591.10   202,753.35    236,721.80    239,877.22     255,920.38     263,422.15     274,230.14           275,439.24            252,104.00        252,316.85           276,567.66           303,060.27
                        40227 ꞏ DLA9 - Irvine                323,861.76   350,389.67   348,946.15    503,406.49   504,048.53    303,961.44   295,980.60    349,645.38    342,382.01     361,302.79     327,168.40     329,551.92           322,290.12            287,387.00        247,020.03           237,191.88           285,728.17
                        40230 ꞏ DCH2 - Chicago, IL           199,184.49   200,845.37   194,230.35    205,530.78   239,688.41    189,817.99   159,767.45    191,160.96    194,031.03     207,501.78     216,775.27     215,845.62           250,253.25            260,331.00        332,549.79           333,186.48           307,012.83
                        40231 ꞏ DAU1 - Austin, TX            353,478.22   402,774.65   536,257.21    634,563.18   777,566.73    511,403.61   374,289.90    455,645.62    437,376.21     457,226.10     435,746.67     453,421.54           447,888.15            431,992.01        433,641.88           385,674.98           394,022.58
                        40232 ꞏ DPS1 - Pasadena, CA                0.00         0.00    42,452.99    240,097.80   258,003.15    197,233.51   174,092.63    193,756.05    236,848.66     290,812.50     303,224.36     325,494.31           286,588.21            272,915.01        376,285.93           356,646.13           368,695.00
                    Total 40200 ꞏ AMZL                      3,223,875.17 3,364,338.76 3,469,415.54 4,691,065.66 5,089,374.35   3,586,695.11 2,938,202.03 3,467,003.42   3,602,797.55   4,038,910.95   4,080,203.45   4,214,026.09         4,260,280.98         3,791,400.03       3,531,226.93         3,566,456.92        3,941,547.00


                                                                                                                                                                                                                                    $ 46,802,314 $           47,229,375 $      47,291,187 $         46,166,578 $         45,018,750
                                                                                                                                                                                                                                    August 2019 TTM September 2019 TTM October 2019 TTM November 2019 TTM December 2019 TTM




                                                                                                                                                                                                                                                                                                                                          Page 1 of 1
3:58 PM
                          Case 2:19-bk-14989-WB                                               Doc 613 FiledScoobeez
                                                                                                              02/19/20 Entered 02/19/20 19:56:55                                                                                   Desc
02/19/20
Accrual Basis
                                                                                              Main Document        Page 24 of 121
                                                                                                         Profit & Loss
                                                                                                                   August 2018 through April 2019

                Revenue      Sep 18          Oct 18        Nov 18           Dec 18       Jan 19        Feb 19    Mar 19        Apr 19         May 19    June 19         July 19     August 19               September 19                 October 19           November 19                  December 19



                                                                                                                                                           Chart Title
                             6,000,000.00

                                                                                               4,691,065.66
                             5,000,000.00                                                                                      5,089,374.35                                                                               4,260,280.98
                                                                                                                                                                                           4,080,203.45
                                                                                                                                                                                                                                                                                              3,941,547.00
                                                             3,364,338.76                                                                                         3,602,797.55                                                                               3,531,226.93
                             4,000,000.00
                                                                                                                                         2,938,202.03
                                                                                                                                                                                                             4,214,026.09
                                                                                                                                                                                   4,038,910.95
                             3,000,000.00                                                                                                                                                                                                                                   3,566,456.92
                                                                                                                                                                                                                                              3,791,400.03
                                                                                                                          3,586,695.11                   3,467,003.42
                                                                                     3,469,415.54
                                              3,223,875.17
                             2,000,000.00


                             1,000,000.00


                                      0.00
                                                  Aug 18            Sep 18           Oct 18         Nov 18      Dec 18         Jan 19         Feb 19    Mar 19          Apr 19    May 19          June 19       July 19        August 19      September 19   October 19     November 19     December 19




                                                                                                                                                                                                                                                                                                          Page 1 of 1
Case 2:19-bk-14989-WB   Doc 613 Filed 02/19/20 Entered 02/19/20 19:56:55   Desc
                        Main Document    Page 25 of 121




                   EXHIBIT B
               Case 2:19-bk-14989-WB       Doc 613 Filed 02/19/20 Entered 02/19/20 19:56:55     Desc
                                           Main Document    Page 26 of 121

Week      1             2                  3            4                   5               6                         7
DCH2      2             4                  4            3                   3               2                         3
DCH1      1             2                  2            2                   2               2                         2
DCH3      2             2                  3            2                   3               2                         3
DLA3      3             3                  3            3                   2               2                         4
DLA8      2             2                  3            4                   2               2                         2
DLA9      3             3                  3            3                   3               3                         3
DPS1      3             3                  3            4                   2               3                         2
DAU1      3             2                  2            2                   2               2                         3
DDA1      1             2                  2            2                   2               2                         2
DDA2      3             3                  3            3                   3               2                         2
DDA3      2             2                  3            2                   2               3                         2
DSX1      3             3                  3            3                   3               2                         3




              4.5
       DCH2    4
       DCH1   3.5
       DCH3    3
       DLA3   2.5
       DLA8    2
       DLA9   1.5
       DPS1    1
       DAU1   0.5
       DDA1    0
                    1       2   3      4       5    6       7   8     9    10    11    12       13     14   15   16
                       Case 2:19-bk-14989-WB      Doc 613 Filed 02/19/20 Entered 02/19/20 19:56:55            Desc
                                                  Main Document    Page 27 of 121

     8             9          10        11        12        13        14        15        16        17         18        19        20
     2             2           2         3         3         4         3         2         3         2          2         2         3
     1             2           2         2         2         3         3         2         2         1          1         2         2
     2             2           3         2         2         3         3         2         3         3          2         3         4
     3             3           3         4         4         4         4         3         2         2          3         2         3
     3             2           3         3         2         4         2         3         2         2          2         4         3
     3             2           2         2         2         2         3         2         2         3          3         3         2
     3             2           2         3         2         2         2         2         2         2          4         2         2
     2             3           2         3         3         3         3         3         3         3          3         3         3
     2             2           2         3         2         3         2         3         2         2          3         2         2
     3             2           3         2         3         3         3         3         3         3          3         3         2
     3             2           2         2         4         3         2         2         2         3          2         2         2
     3             3           4         3         3         2         2         3         3         2          3         2         3




                                             Scorecard grades from 1-4 (1=poor, 2=fair, 3=great, 4=fantastic or fantastic plus)




17       18   19         20        21   22   23        24   25   26        27   28   29        30   31   32         33   34   35        36
                    Case 2:19-bk-14989-WB     Doc 613 Filed 02/19/20 Entered 02/19/20 19:56:55           Desc
                                              Main Document    Page 28 of 121

     21        22        23        24        25        26        27        28        29        30         31         32        33
      3         3         3         3         3         2         2         3         2         3          4          3         3
      2         2         2         1         1         1         1         1         1         1          2          2         2
      3         3         3         3         3         4         3         3         3         3          4          2         3
      2         4         1         1         1         2         1         1         2         2          2          3         2
      3         2         2         1         2         1         2         3         1         3          2          3         3
      3         2         2         3         3         3         3         3         3         3          3          3         3
      2         3         3         3         3         3         3         2         2         3          3          3         3
      3         3         1         1         1         2         2         2         1         3          2          3         3
      2         2         1         1         1         1         1         1         1         1          1          1         2
      3         3         2         3         3         4         4         3         3         4          3          4         3
      2         2         3         3         3         3         3         3         3         4          3          3         4
      2         4         4         3         3         4         4         4         3         4          4          4         4




36   37   38        39   40   41        42   43   44        45   46   47        48   49   50        51   52     53        54   55
                    Case 2:19-bk-14989-WB   Doc 613 Filed 02/19/20 Entered 02/19/20 19:56:55   Desc
                                            Main Document    Page 29 of 121

     34        35          36     37        38      39      40       41       42       43       44    45   46
      3         2           2      2         4       4       4        4        4        4        3     3    4
      2         2           1      2         2       2       3        2        3        3        3     3    4
      1         4           2      2         4       4       4        4        4        4        3     3    4
      1         2           2      2         4       4       4        4        4        4        4     3    3
      2         3           2      3         3       3       2        3        3        3        3     4    4
      2         3           3      3         3       3       3        4        4        3        4     4    4
      1         3           2      3         3       3       4        3        3        3        3     3    3
      2         2           3      3         4       3       3        3        3        3        3     2    3
      1         2           2      2         4       4       4        4        4        4        4     4    4
      1         2           2      2         3       3       3        4        4        4        4     4    4
      1         2           3      2         3       4       3        4        3        4        4     3    4
      2         2           4      2         4       4       4        4        4        4        4     4    4




56        57   58     59
          Case 2:19-bk-14989-WB   Doc 613 Filed 02/19/20 Entered 02/19/20 19:56:55   Desc
                                  Main Document    Page 30 of 121

47   48        49       50        51      52       1        2        3        4        5    6   7
 4    4         4        3         4       3       3        3        4        4        4    4   4
 4    4         4        4         4       4       4        4        4        4        4    4   4
 4    4         3        3         3       4       3        4        4        3        4    4   3
 4    4         3        4         3       3       3        4        3        3        4    4   4
 4    3         4        3         3       4       3        4        4        4        3    4   3
 4    4         4        3         4       4       4        4        4        4        4    4   4
 4    4         4        3         3       4       4        4        4        4        4    4   4
 3    3         3        2         3       3       3        3        3        3        3    4   4
 4    3         3        3         3       4       4        4        4        4        3    4   3
 4    4         3        4         4       4       4        4        4        4        3    4   4
 4    4         4        4         4       4       3        4        4        4        4    4   4
 4    4         4        4         4       4       4        4        4        4        4    4   4
Case 2:19-bk-14989-WB   Doc 613 Filed 02/19/20 Entered 02/19/20 19:56:55   Desc
                        Main Document    Page 31 of 121




                   EXHIBIT C
           Case 2:19-bk-14989-WB             Doc 613 Filed 02/19/20 Entered 02/19/20 19:56:55   Desc
                                             Main Document    Page 32 of 121



                                 DSP Delivery Excellence Performance
                                                                                             SCBZ at DAU1
                                                                                                 Week 06
                                                                                                      2020
Week 06 Performance
      Overall Standing                 Key Focus Areas                         Top Drivers
                                1. Attrition Rate
        Fantastic
                                2. Customer Escalation Defect DPMO
 See details on next page       3. Delivered and Received




Resources
  1   Delivery Excellence Performance Program Guide
  2   Delivery Excellence Performance Program Recorded Training Presentation
  3   eDriving Mentor Portal     eDriving Support Page
  4   Scorecard SOP

 Questions?
 - Discuss with your On-Road Area Manager
 - Leverage the resources in the links above.
 - Email the DSP Service Level Standards team (dsp-performance@amazon.com)




                                                             Page 1 of 8
       Case 2:19-bk-14989-WB       Doc 613 Filed 02/19/20 Entered 02/19/20 19:56:55        Desc
                                   Main Document    Page 33 of 121
                                       DSP Scorecard
                                                                             SCBZ at DAU1
                                                                                  Week 06
                                                                                      2020
Overall Standing:   Fantastic
       Poor                     Fair                        Great       Fantastic   Fantastic Plus




                                              Page 2 of 8
                                            Case 2:19-bk-14989-WB                Doc 613 Filed 02/19/20 Entered 02/19/20 19:56:55                       Desc
                                                                                 Main Document    Page 34 of 121
                                                                                SCBZ at DAU1 - Week 06
                                                                                                                                                  Fantastic   A Top Performer!
DA Current Week Performance
                                                                                                                                                   Great      Exceeding Amazon Expectations
                                                                                                                                                    Fair      Meeting Amazon Expectations
                                                                                                                                                    Poor      Below Amazon Expectations
Drivers ranked by overall score, descending.
 #             Name                   Transporter ID   Overall Tier Delivered    Key Focus Area       DCR       DAR   SWC-POD   SWC-CC   SWC-SC   SWC-AD         DNRs      POD         CC
                                                                                                                                                                           Opps.      Opps.




                                                                                                  Page 3 of 8
Case 2:19-bk-14989-WB   Doc 613 Filed 02/19/20 Entered 02/19/20 19:56:55   Desc
                        Main Document    Page 35 of 121




                                   Page 4 of 8
                                     Case 2:19-bk-14989-WB         Doc 613 Filed 02/19/20 Entered 02/19/20 19:56:55                     Desc
                                                                   Main Document    Page 36 of 121
                                                                  SCBZ at DAU1 - Week 06
                                                                                                                            Fantastic       A Top Performer!
DA Trailing 6-Week Performance
                                                                                                                             Great          Exceeding Amazon Expectations
                                                                                                                              Fair          Meeting Amazon Expectations
                                                                                                                              Poor          Below Amazon Expectations
Drivers ranked by overall score, descending.
 #              Name                   Transporter ID   Average   DCR   DAR   SWC-POD       SWC-CC   SWC-SC   SWC-AD   High/Low Performer              Weeks
                                                          Tier                                                               Status            Fant. Great Fair     Poor




                                                                              Page 5 of 8
Case 2:19-bk-14989-WB   Doc 613 Filed 02/19/20 Entered 02/19/20 19:56:55   Desc
                        Main Document    Page 37 of 121




                                   Page 6 of 8
Case 2:19-bk-14989-WB   Doc 613 Filed 02/19/20 Entered 02/19/20 19:56:55   Desc
                        Main Document    Page 38 of 121


             Metric Definitions and Weightings




                                   Page 7 of 8
Case 2:19-bk-14989-WB   Doc 613 Filed 02/19/20 Entered 02/19/20 19:56:55   Desc
                        Main Document    Page 39 of 121




                                   Page 8 of 8
           Case 2:19-bk-14989-WB             Doc 613 Filed 02/19/20 Entered 02/19/20 19:56:55   Desc
                                             Main Document    Page 40 of 121



                                 DSP Delivery Excellence Performance
                                                                                             SCBZ at DCH1
                                                                                                  Week 06
                                                                                                      2020
Week 06 Performance
      Overall Standing                 Key Focus Areas                         Top Drivers
                                1. Attrition Rate
        Fantastic
                                2. Customer Escalation Defect DPMO
 See details on next page       3. Attended Delivery Accuracy




Resources
  1   Delivery Excellence Performance Program Guide
  2   Delivery Excellence Performance Program Recorded Training Presentation
  3   eDriving Mentor Portal     eDriving Support Page
  4   Scorecard SOP

 Questions?
 - Discuss with your On-Road Area Manager
 - Leverage the resources in the links above.
 - Email the DSP Service Level Standards team (dsp-performance@amazon.com)




                                                             Page 1 of 8
           Case 2:19-bk-14989-WB       Doc 613 Filed 02/19/20 Entered 02/19/20 19:56:55        Desc
                                       Main Document    Page 41 of 121
                                           DSP Scorecard
                                                                                SCBZ at DCH1
                                                                                     Week 06
                                                                                         2020
    Overall Standing:   Fantastic
           Poor                     Fair                        Great       Fantastic   Fantastic Plus




?




?



?



?




                                                  Page 2 of 8
                                            Case 2:19-bk-14989-WB                Doc 613 Filed 02/19/20 Entered 02/19/20 19:56:55                       Desc
                                                                                 Main Document    Page 42 of 121
                                                                                SCBZ at DCH1 - Week 06
                                                                                                                                                  Fantastic   A Top Performer!
DA Current Week Performance
                                                                                                                                                   Great      Exceeding Amazon Expectations
                                                                                                                                                    Fair      Meeting Amazon Expectations
                                                                                                                                                    Poor      Below Amazon Expectations
Drivers ranked by overall score, descending.
 #             Name                   Transporter ID   Overall Tier Delivered    Key Focus Area       DCR       DAR   SWC-POD   SWC-CC   SWC-SC   SWC-AD         DNRs      POD         CC
                                                                                                                                                                           Opps.      Opps.




                                                                                                  Page 3 of 8
Case 2:19-bk-14989-WB   Doc 613 Filed 02/19/20 Entered 02/19/20 19:56:55   Desc
                        Main Document    Page 43 of 121




                                   Page 4 of 8
                                     Case 2:19-bk-14989-WB         Doc 613 Filed 02/19/20 Entered 02/19/20 19:56:55                     Desc
                                                                   Main Document    Page 44 of 121
                                                                  SCBZ at DCH1 - Week 06
                                                                                                                            Fantastic       A Top Performer!
DA Trailing 6-Week Performance
                                                                                                                             Great          Exceeding Amazon Expectations
                                                                                                                              Fair          Meeting Amazon Expectations
                                                                                                                              Poor          Below Amazon Expectations
Drivers ranked by overall score, descending.
 #              Name                   Transporter ID   Average   DCR   DAR   SWC-POD       SWC-CC   SWC-SC   SWC-AD   High/Low Performer              Weeks
                                                          Tier                                                               Status            Fant. Great Fair     Poor




                                                                              Page 5 of 8
Case 2:19-bk-14989-WB   Doc 613 Filed 02/19/20 Entered 02/19/20 19:56:55   Desc
                        Main Document    Page 45 of 121




                                   Page 6 of 8
         Case 2:19-bk-14989-WB   Doc 613 Filed 02/19/20 Entered 02/19/20 19:56:55   Desc
                                 Main Document    Page 46 of 121


                      Metric Definitions and Weightings
Metric                                                                              Weighting




                                            Page 7 of 8
Case 2:19-bk-14989-WB   Doc 613 Filed 02/19/20 Entered 02/19/20 19:56:55   Desc
                        Main Document    Page 47 of 121




                                   Page 8 of 8
           Case 2:19-bk-14989-WB             Doc 613 Filed 02/19/20 Entered 02/19/20 19:56:55   Desc
                                             Main Document    Page 48 of 121



                                 DSP Delivery Excellence Performance
                                                                                             SCBZ at DCH2
                                                                                                  Week 06
                                                                                                      2020
Week 06 Performance
      Overall Standing                 Key Focus Areas                         Top Drivers
                                1. Attrition Rate
        Fantastic
                                2. Customer Escalation Defect DPMO
 See details on next page       3. Delivered and Received




Resources
  1   Delivery Excellence Performance Program Guide
  2   Delivery Excellence Performance Program Recorded Training Presentation
  3   eDriving Mentor Portal     eDriving Support Page
  4   Scorecard SOP

 Questions?
 - Discuss with your On-Road Area Manager
 - Leverage the resources in the links above.
 - Email the DSP Service Level Standards team (dsp-performance@amazon.com)




                                                             Page 1 of 7
       Case 2:19-bk-14989-WB       Doc 613 Filed 02/19/20 Entered 02/19/20 19:56:55        Desc
                                   Main Document    Page 49 of 121
                                       DSP Scorecard
                                                                            SCBZ at DCH2
                                                                                 Week 06
                                                                                     2020
Overall Standing:   Fantastic
       Poor                     Fair                        Great       Fantastic   Fantastic Plus




                                              Page 2 of 7
                                            Case 2:19-bk-14989-WB                Doc 613 Filed 02/19/20 Entered 02/19/20 19:56:55                       Desc
                                                                                 Main Document    Page 50 of 121
                                                                                SCBZ at DCH2 - Week 06
                                                                                                                                                  Fantastic   A Top Performer!
DA Current Week Performance
                                                                                                                                                   Great      Exceeding Amazon Expectations
                                                                                                                                                    Fair      Meeting Amazon Expectations
                                                                                                                                                    Poor      Below Amazon Expectations
Drivers ranked by overall score, descending.
 #             Name                   Transporter ID   Overall Tier Delivered    Key Focus Area       DCR       DAR   SWC-POD   SWC-CC   SWC-SC   SWC-AD         DNRs      POD         CC
                                                                                                                                                                           Opps.      Opps.




                                                                                                  Page 3 of 7
                                     Case 2:19-bk-14989-WB         Doc 613 Filed 02/19/20 Entered 02/19/20 19:56:55                     Desc
                                                                   Main Document    Page 51 of 121
                                                                  SCBZ at DCH2 - Week 06
                                                                                                                            Fantastic       A Top Performer!
DA Trailing 6-Week Performance
                                                                                                                             Great          Exceeding Amazon Expectations
                                                                                                                              Fair          Meeting Amazon Expectations
                                                                                                                              Poor          Below Amazon Expectations
Drivers ranked by overall score, descending.
 #              Name                   Transporter ID   Average   DCR   DAR   SWC-POD       SWC-CC   SWC-SC   SWC-AD   High/Low Performer              Weeks
                                                          Tier                                                               Status            Fant. Great Fair     Poor




                                                                              Page 4 of 7
Case 2:19-bk-14989-WB   Doc 613 Filed 02/19/20 Entered 02/19/20 19:56:55   Desc
                        Main Document    Page 52 of 121




                                   Page 5 of 7
         Case 2:19-bk-14989-WB   Doc 613 Filed 02/19/20 Entered 02/19/20 19:56:55   Desc
                                 Main Document    Page 53 of 121


                      Metric Definitions and Weightings
Metric                                                                              Weighting




                                            Page 6 of 7
Case 2:19-bk-14989-WB   Doc 613 Filed 02/19/20 Entered 02/19/20 19:56:55   Desc
                        Main Document    Page 54 of 121




                                   Page 7 of 7
           Case 2:19-bk-14989-WB             Doc 613 Filed 02/19/20 Entered 02/19/20 19:56:55   Desc
                                             Main Document    Page 55 of 121



                                 DSP Delivery Excellence Performance
                                                                                             SCBZ at DCH3
                                                                                                  Week 06
                                                                                                      2020
Week 06 Performance
      Overall Standing                 Key Focus Areas                         Top Drivers
                                1. Attrition Rate
        Fantastic
                                2. Delivered and Received
 See details on next page       3. Customer Escalation Defect DPMO




Resources
  1   Delivery Excellence Performance Program Guide
  2   Delivery Excellence Performance Program Recorded Training Presentation
  3   eDriving Mentor Portal     eDriving Support Page
  4   Scorecard SOP

 Questions?
 - Discuss with your On-Road Area Manager
 - Leverage the resources in the links above.
 - Email the DSP Service Level Standards team (dsp-performance@amazon.com)




                                                             Page 1 of 6
       Case 2:19-bk-14989-WB       Doc 613 Filed 02/19/20 Entered 02/19/20 19:56:55        Desc
                                   Main Document    Page 56 of 121
                                       DSP Scorecard
                                                                            SCBZ at DCH3
                                                                                 Week 06
                                                                                     2020
Overall Standing:   Fantastic
       Poor                     Fair                        Great       Fantastic   Fantastic Plus




                                              Page 2 of 6
                                            Case 2:19-bk-14989-WB                Doc 613 Filed 02/19/20 Entered 02/19/20 19:56:55                       Desc
                                                                                 Main Document    Page 57 of 121
                                                                                SCBZ at DCH3 - Week 06
                                                                                                                                                  Fantastic   A Top Performer!
DA Current Week Performance
                                                                                                                                                   Great      Exceeding Amazon Expectations
                                                                                                                                                    Fair      Meeting Amazon Expectations
                                                                                                                                                    Poor      Below Amazon Expectations
Drivers ranked by overall score, descending.
 #             Name                   Transporter ID   Overall Tier Delivered    Key Focus Area       DCR       DAR   SWC-POD   SWC-CC   SWC-SC   SWC-AD         DNRs      POD         CC
                                                                                                                                                                           Opps.      Opps.




                                                                                                  Page 3 of 6
                                     Case 2:19-bk-14989-WB         Doc 613 Filed 02/19/20 Entered 02/19/20 19:56:55                     Desc
                                                                   Main Document    Page 58 of 121
                                                                  SCBZ at DCH3 - Week 06
                                                                                                                            Fantastic       A Top Performer!
DA Trailing 6-Week Performance
                                                                                                                             Great          Exceeding Amazon Expectations
                                                                                                                              Fair          Meeting Amazon Expectations
                                                                                                                              Poor          Below Amazon Expectations
Drivers ranked by overall score, descending.
 #              Name                   Transporter ID   Average   DCR   DAR   SWC-POD       SWC-CC   SWC-SC   SWC-AD   High/Low Performer              Weeks
                                                          Tier                                                               Status            Fant. Great Fair     Poor




                                                                              Page 4 of 6
         Case 2:19-bk-14989-WB   Doc 613 Filed 02/19/20 Entered 02/19/20 19:56:55   Desc
                                 Main Document    Page 59 of 121


                      Metric Definitions and Weightings
Metric                                                                              Weighting




                                            Page 5 of 6
    Case 2:19-bk-14989-WB   Doc 613 Filed 02/19/20 Entered 02/19/20 19:56:55   Desc
                            Main Document    Page 60 of 121




t
a
a
c




                                       Page 6 of 6
           Case 2:19-bk-14989-WB             Doc 613 Filed 02/19/20 Entered 02/19/20 19:56:55   Desc
                                             Main Document    Page 61 of 121



                                 DSP Delivery Excellence Performance
                                                                                             SCBZ at DDA1
                                                                                                 Week 06
                                                                                                      2020
Week 06 Performance
      Overall Standing                 Key Focus Areas                         Top Drivers
                                1. Attrition Rate
        Fantastic
                                2. Delivered and Received
 See details on next page       3. Customer Escalation Defect DPMO




Resources
  1   Delivery Excellence Performance Program Guide
  2   Delivery Excellence Performance Program Recorded Training Presentation
  3   eDriving Mentor Portal     eDriving Support Page
  4   Scorecard SOP

 Questions?
 - Discuss with your On-Road Area Manager
 - Leverage the resources in the links above.
 - Email the DSP Service Level Standards team (dsp-performance@amazon.com)




                                                             Page 1 of 6
       Case 2:19-bk-14989-WB       Doc 613 Filed 02/19/20 Entered 02/19/20 19:56:55        Desc
                                   Main Document    Page 62 of 121
                                       DSP Scorecard
                                                                             SCBZ at DDA1
                                                                                  Week 06
                                                                                      2020
Overall Standing:   Fantastic
       Poor                     Fair                        Great       Fantastic   Fantastic Plus




                                              Page 2 of 6
                                            Case 2:19-bk-14989-WB                Doc 613 Filed 02/19/20 Entered 02/19/20 19:56:55                       Desc
                                                                                 Main Document    Page 63 of 121
                                                                                SCBZ at DDA1 - Week 06
                                                                                                                                                  Fantastic   A Top Performer!
DA Current Week Performance
                                                                                                                                                   Great      Exceeding Amazon Expectations
                                                                                                                                                    Fair      Meeting Amazon Expectations
                                                                                                                                                    Poor      Below Amazon Expectations
Drivers ranked by overall score, descending.
 #             Name                   Transporter ID   Overall Tier Delivered    Key Focus Area       DCR       DAR   SWC-POD   SWC-CC   SWC-SC   SWC-AD         DNRs      POD         CC
                                                                                                                                                                           Opps.      Opps.




                                                                                                  Page 3 of 6
                                     Case 2:19-bk-14989-WB         Doc 613 Filed 02/19/20 Entered 02/19/20 19:56:55                     Desc
                                                                   Main Document    Page 64 of 121
                                                                  SCBZ at DDA1 - Week 06
                                                                                                                            Fantastic       A Top Performer!
DA Trailing 6-Week Performance
                                                                                                                             Great          Exceeding Amazon Expectations
                                                                                                                              Fair          Meeting Amazon Expectations
                                                                                                                              Poor          Below Amazon Expectations
Drivers ranked by overall score, descending.
 #              Name                   Transporter ID   Average   DCR   DAR   SWC-POD       SWC-CC   SWC-SC   SWC-AD   High/Low Performer              Weeks
                                                          Tier                                                               Status            Fant. Great Fair     Poor




                                                                              Page 4 of 6
         Case 2:19-bk-14989-WB   Doc 613 Filed 02/19/20 Entered 02/19/20 19:56:55   Desc
                                 Main Document    Page 65 of 121


                      Metric Definitions and Weightings
Metric                                                                              Weighting




                                            Page 5 of 6
    Case 2:19-bk-14989-WB   Doc 613 Filed 02/19/20 Entered 02/19/20 19:56:55   Desc
                            Main Document    Page 66 of 121




t




                                       Page 6 of 6
           Case 2:19-bk-14989-WB             Doc 613 Filed 02/19/20 Entered 02/19/20 19:56:55   Desc
                                             Main Document    Page 67 of 121



                                 DSP Delivery Excellence Performance
                                                                                             SCBZ at DDA2
                                                                                                 Week 06
                                                                                                      2020
Week 06 Performance
      Overall Standing                 Key Focus Areas                         Top Drivers
                                1. Attrition Rate
        Fantastic
                                2. Customer Escalation Defect DPMO
 See details on next page       3. Delivered and Received




Resources
  1   Delivery Excellence Performance Program Guide
  2   Delivery Excellence Performance Program Recorded Training Presentation
  3   eDriving Mentor Portal     eDriving Support Page
  4   Scorecard SOP

 Questions?
 - Discuss with your On-Road Area Manager
 - Leverage the resources in the links above.
 - Email the DSP Service Level Standards team (dsp-performance@amazon.com)




                                                             Page 1 of 8
       Case 2:19-bk-14989-WB       Doc 613 Filed 02/19/20 Entered 02/19/20 19:56:55        Desc
                                   Main Document    Page 68 of 121
                                       DSP Scorecard
                                                                             SCBZ at DDA2
                                                                                  Week 06
                                                                                      2020
Overall Standing:   Fantastic
       Poor                     Fair                        Great       Fantastic   Fantastic Plus




                                              Page 2 of 8
                                            Case 2:19-bk-14989-WB                Doc 613 Filed 02/19/20 Entered 02/19/20 19:56:55                       Desc
                                                                                 Main Document    Page 69 of 121
                                                                                SCBZ at DDA2 - Week 06
                                                                                                                                                  Fantastic   A Top Performer!
DA Current Week Performance
                                                                                                                                                   Great      Exceeding Amazon Expectations
                                                                                                                                                    Fair      Meeting Amazon Expectations
                                                                                                                                                    Poor      Below Amazon Expectations
Drivers ranked by overall score, descending.
 #             Name                   Transporter ID   Overall Tier Delivered    Key Focus Area       DCR       DAR   SWC-POD   SWC-CC   SWC-SC   SWC-AD         DNRs      POD         CC
                                                                                                                                                                           Opps.      Opps.




                                                                                                  Page 3 of 8
Case 2:19-bk-14989-WB   Doc 613 Filed 02/19/20 Entered 02/19/20 19:56:55   Desc
                        Main Document    Page 70 of 121




                                   Page 4 of 8
                                     Case 2:19-bk-14989-WB         Doc 613 Filed 02/19/20 Entered 02/19/20 19:56:55                     Desc
                                                                   Main Document    Page 71 of 121
                                                                  SCBZ at DDA2 - Week 06
                                                                                                                            Fantastic       A Top Performer!
DA Trailing 6-Week Performance
                                                                                                                             Great          Exceeding Amazon Expectations
                                                                                                                              Fair          Meeting Amazon Expectations
                                                                                                                              Poor          Below Amazon Expectations
Drivers ranked by overall score, descending.
 #              Name                   Transporter ID   Average   DCR   DAR   SWC-POD       SWC-CC   SWC-SC   SWC-AD   High/Low Performer              Weeks
                                                          Tier                                                               Status            Fant. Great Fair     Poor




                                                                              Page 5 of 8
Case 2:19-bk-14989-WB   Doc 613 Filed 02/19/20 Entered 02/19/20 19:56:55   Desc
                        Main Document    Page 72 of 121




                                   Page 6 of 8
         Case 2:19-bk-14989-WB   Doc 613 Filed 02/19/20 Entered 02/19/20 19:56:55   Desc
                                 Main Document    Page 73 of 121


                      Metric Definitions and Weightings
Metric                                                                              Weighting




                                            Page 7 of 8
Case 2:19-bk-14989-WB   Doc 613 Filed 02/19/20 Entered 02/19/20 19:56:55   Desc
                        Main Document    Page 74 of 121




                                   Page 8 of 8
           Case 2:19-bk-14989-WB             Doc 613 Filed 02/19/20 Entered 02/19/20 19:56:55   Desc
                                             Main Document    Page 75 of 121



                                 DSP Delivery Excellence Performance
                                                                                             SCBZ at DDA3
                                                                                                 Week 06
                                                                                                      2020
Week 06 Performance
      Overall Standing                 Key Focus Areas                         Top Drivers
                                1. Attrition Rate
        Fantastic
                                2. Customer Escalation Defect DPMO
 See details on next page       3. Delivered and Received




Resources
  1   Delivery Excellence Performance Program Guide
  2   Delivery Excellence Performance Program Recorded Training Presentation
  3   eDriving Mentor Portal     eDriving Support Page
  4   Scorecard SOP

 Questions?
 - Discuss with your On-Road Area Manager
 - Leverage the resources in the links above.
 - Email the DSP Service Level Standards team (dsp-performance@amazon.com)




                                                             Page 1 of 8
       Case 2:19-bk-14989-WB       Doc 613 Filed 02/19/20 Entered 02/19/20 19:56:55        Desc
                                   Main Document    Page 76 of 121
                                       DSP Scorecard
                                                                             SCBZ at DDA3
                                                                                  Week 06
                                                                                      2020
Overall Standing:   Fantastic
       Poor                     Fair                        Great       Fantastic   Fantastic Plus




                                              Page 2 of 8
                                            Case 2:19-bk-14989-WB                Doc 613 Filed 02/19/20 Entered 02/19/20 19:56:55                       Desc
                                                                                 Main Document    Page 77 of 121
                                                                                SCBZ at DDA3 - Week 06
                                                                                                                                                  Fantastic   A Top Performer!
DA Current Week Performance
                                                                                                                                                   Great      Exceeding Amazon Expectations
                                                                                                                                                    Fair      Meeting Amazon Expectations
                                                                                                                                                    Poor      Below Amazon Expectations
Drivers ranked by overall score, descending.
 #             Name                   Transporter ID   Overall Tier Delivered    Key Focus Area       DCR       DAR   SWC-POD   SWC-CC   SWC-SC   SWC-AD         DNRs      POD         CC
                                                                                                                                                                           Opps.      Opps.




                                                                                                  Page 3 of 8
Case 2:19-bk-14989-WB   Doc 613 Filed 02/19/20 Entered 02/19/20 19:56:55   Desc
                        Main Document    Page 78 of 121




                                   Page 4 of 8
                                     Case 2:19-bk-14989-WB         Doc 613 Filed 02/19/20 Entered 02/19/20 19:56:55                     Desc
                                                                   Main Document    Page 79 of 121
                                                                  SCBZ at DDA3 - Week 06
                                                                                                                            Fantastic       A Top Performer!
DA Trailing 6-Week Performance
                                                                                                                             Great          Exceeding Amazon Expectations
                                                                                                                              Fair          Meeting Amazon Expectations
                                                                                                                              Poor          Below Amazon Expectations
Drivers ranked by overall score, descending.
 #              Name                   Transporter ID   Average   DCR   DAR   SWC-POD       SWC-CC   SWC-SC   SWC-AD   High/Low Performer              Weeks
                                                          Tier                                                               Status            Fant. Great Fair     Poor




                                                                              Page 5 of 8
Case 2:19-bk-14989-WB   Doc 613 Filed 02/19/20 Entered 02/19/20 19:56:55   Desc
                        Main Document    Page 80 of 121




                                   Page 6 of 8
         Case 2:19-bk-14989-WB   Doc 613 Filed 02/19/20 Entered 02/19/20 19:56:55   Desc
                                 Main Document    Page 81 of 121


                      Metric Definitions and Weightings
Metric                                                                              Weighting




                                            Page 7 of 8
Case 2:19-bk-14989-WB   Doc 613 Filed 02/19/20 Entered 02/19/20 19:56:55   Desc
                        Main Document    Page 82 of 121




                                   Page 8 of 8
           Case 2:19-bk-14989-WB              Doc 613 Filed 02/19/20 Entered 02/19/20 19:56:55   Desc
                                              Main Document    Page 83 of 121



                                 DSP Delivery Excellence Performance
                                                                                             SCBZ at DLA3
                                                                                                 Week 06
                                                                                                     2020
Week 06 Performance
      Overall Standing                 Key Focus Areas                         Top Drivers
                                1. Delivered and Received
   Fantastic Plus
                                2. Delivery Completion Rate
 See details on next page       3. High Performers Share




Resources
  1   Delivery Excellence Performance Program Guide
  2   Delivery Excellence Performance Program Recorded Training Presentation
  3   eDriving Mentor Portal     eDriving Support Page
  4   Scorecard SOP

 Questions?
 - Discuss with your On-Road Area Manager
 - Leverage the resources in the links above.
 - Email the DSP Service Level Standards team (dsp-performance@amazon.com)




                                                              Page 1 of 7
       Case 2:19-bk-14989-WB      Doc 613 Filed 02/19/20 Entered 02/19/20 19:56:55        Desc
                                  Main Document    Page 84 of 121
                                      DSP Scorecard
                                                                            SCBZ at DLA3
                                                                                Week 06
                                                                                     2020
Overall Standing:   Fantastic Plus
       Poor                    Fair                        Great       Fantastic   Fantastic Plus




                                             Page 2 of 7
                                            Case 2:19-bk-14989-WB                Doc 613 Filed 02/19/20 Entered 02/19/20 19:56:55                       Desc
                                                                                 Main Document    Page 85 of 121
                                                                                SCBZ at DLA3 - Week 06
                                                                                                                                                  Fantastic   A Top Performer!
DA Current Week Performance
                                                                                                                                                   Great      Exceeding Amazon Expectations
                                                                                                                                                    Fair      Meeting Amazon Expectations
                                                                                                                                                    Poor      Below Amazon Expectations
Drivers ranked by overall score, descending.
 #             Name                   Transporter ID   Overall Tier Delivered    Key Focus Area       DCR       DAR   SWC-POD   SWC-CC   SWC-SC   SWC-AD         DNRs      POD         CC
                                                                                                                                                                           Opps.      Opps.




                                                                                                  Page 3 of 7
                                     Case 2:19-bk-14989-WB         Doc 613 Filed 02/19/20 Entered 02/19/20 19:56:55                     Desc
                                                                   Main Document    Page 86 of 121
                                                                  SCBZ at DLA3 - Week 06
                                                                                                                            Fantastic       A Top Performer!
DA Trailing 6-Week Performance
                                                                                                                             Great          Exceeding Amazon Expectations
                                                                                                                              Fair          Meeting Amazon Expectations
                                                                                                                              Poor          Below Amazon Expectations
Drivers ranked by overall score, descending.
 #              Name                   Transporter ID   Average   DCR   DAR   SWC-POD       SWC-CC   SWC-SC   SWC-AD   High/Low Performer              Weeks
                                                          Tier                                                               Status            Fant. Great Fair     Poor




                                                                              Page 4 of 7
Case 2:19-bk-14989-WB   Doc 613 Filed 02/19/20 Entered 02/19/20 19:56:55   Desc
                        Main Document    Page 87 of 121




                                   Page 5 of 7
         Case 2:19-bk-14989-WB   Doc 613 Filed 02/19/20 Entered 02/19/20 19:56:55   Desc
                                 Main Document    Page 88 of 121


                      Metric Definitions and Weightings
Metric                                                                              Weighting




                                            Page 6 of 7
Case 2:19-bk-14989-WB   Doc 613 Filed 02/19/20 Entered 02/19/20 19:56:55   Desc
                        Main Document    Page 89 of 121




                                   Page 7 of 7
           Case 2:19-bk-14989-WB             Doc 613 Filed 02/19/20 Entered 02/19/20 19:56:55   Desc
                                             Main Document    Page 90 of 121



                                 DSP Delivery Excellence Performance
                                                                                             SCBZ at DLA8
                                                                                                 Week 06
                                                                                                     2020
Week 06 Performance
      Overall Standing                 Key Focus Areas                         Top Drivers
                                1. Attrition Rate
        Fantastic
                                2. Customer Escalation Defect DPMO
 See details on next page       3. Delivered and Received




Resources
  1   Delivery Excellence Performance Program Guide
  2   Delivery Excellence Performance Program Recorded Training Presentation
  3   eDriving Mentor Portal     eDriving Support Page
  4   Scorecard SOP

 Questions?
 - Discuss with your On-Road Area Manager
 - Leverage the resources in the links above.
 - Email the DSP Service Level Standards team (dsp-performance@amazon.com)




                                                             Page 1 of 8
       Case 2:19-bk-14989-WB       Doc 613 Filed 02/19/20 Entered 02/19/20 19:56:55        Desc
                                   Main Document    Page 91 of 121
                                       DSP Scorecard
                                                                             SCBZ at DLA8
                                                                                 Week 06
                                                                                      2020
Overall Standing:   Fantastic
       Poor                     Fair                        Great       Fantastic   Fantastic Plus




                                              Page 2 of 8
                                            Case 2:19-bk-14989-WB                Doc 613 Filed 02/19/20 Entered 02/19/20 19:56:55                       Desc
                                                                                 Main Document    Page 92 of 121
                                                                                SCBZ at DLA8 - Week 06
                                                                                                                                                  Fantastic   A Top Performer!
DA Current Week Performance
                                                                                                                                                   Great      Exceeding Amazon Expectations
                                                                                                                                                    Fair      Meeting Amazon Expectations
                                                                                                                                                    Poor      Below Amazon Expectations
Drivers ranked by overall score, descending.
 #             Name                   Transporter ID   Overall Tier Delivered    Key Focus Area       DCR       DAR   SWC-POD   SWC-CC   SWC-SC   SWC-AD         DNRs      POD         CC
                                                                                                                                                                           Opps.      Opps.




                                                                                                  Page 3 of 8
Case 2:19-bk-14989-WB   Doc 613 Filed 02/19/20 Entered 02/19/20 19:56:55   Desc
                        Main Document    Page 93 of 121




                                   Page 4 of 8
                                     Case 2:19-bk-14989-WB         Doc 613 Filed 02/19/20 Entered 02/19/20 19:56:55                     Desc
                                                                   Main Document    Page 94 of 121
                                                                  SCBZ at DLA8 - Week 06
                                                                                                                            Fantastic       A Top Performer!
DA Trailing 6-Week Performance
                                                                                                                             Great          Exceeding Amazon Expectations
                                                                                                                              Fair          Meeting Amazon Expectations
                                                                                                                              Poor          Below Amazon Expectations
Drivers ranked by overall score, descending.
 #              Name                   Transporter ID   Average   DCR   DAR   SWC-POD       SWC-CC   SWC-SC   SWC-AD   High/Low Performer              Weeks
                                                          Tier                                                               Status            Fant. Great Fair     Poor




                                                                              Page 5 of 8
Case 2:19-bk-14989-WB   Doc 613 Filed 02/19/20 Entered 02/19/20 19:56:55   Desc
                        Main Document    Page 95 of 121




                                   Page 6 of 8
         Case 2:19-bk-14989-WB   Doc 613 Filed 02/19/20 Entered 02/19/20 19:56:55   Desc
                                 Main Document    Page 96 of 121


                      Metric Definitions and Weightings
Metric                                                                              Weighting




                                            Page 7 of 8
Case 2:19-bk-14989-WB   Doc 613 Filed 02/19/20 Entered 02/19/20 19:56:55   Desc
                        Main Document    Page 97 of 121




                                   Page 8 of 8
           Case 2:19-bk-14989-WB              Doc 613 Filed 02/19/20 Entered 02/19/20 19:56:55   Desc
                                              Main Document    Page 98 of 121



                                 DSP Delivery Excellence Performance
                                                                                             SCBZ at DLA9
                                                                                                 Week 06
                                                                                                     2020
Week 06 Performance
      Overall Standing                 Key Focus Areas                         Top Drivers
                                1. Attrition Rate
   Fantastic Plus
                                2. Delivered and Received
 See details on next page       3. Delivery Completion Rate




Resources
  1   Delivery Excellence Performance Program Guide
  2   Delivery Excellence Performance Program Recorded Training Presentation
  3   eDriving Mentor Portal     eDriving Support Page
  4   Scorecard SOP

 Questions?
 - Discuss with your On-Road Area Manager
 - Leverage the resources in the links above.
 - Email the DSP Service Level Standards team (dsp-performance@amazon.com)




                                                              Page 1 of 7
       Case 2:19-bk-14989-WB      Doc 613 Filed 02/19/20 Entered 02/19/20 19:56:55        Desc
                                  Main Document    Page 99 of 121
                                      DSP Scorecard
                                                                            SCBZ at DLA9
                                                                                Week 06
                                                                                     2020
Overall Standing:   Fantastic Plus
       Poor                    Fair                        Great       Fantastic   Fantastic Plus




                                             Page 2 of 7
                                            Case 2:19-bk-14989-WB                Doc 613 Filed 02/19/20 Entered 02/19/20 19:56:55                       Desc
                                                                                Main Document    Page 100 of 121
                                                                                SCBZ at DLA9 - Week 06
                                                                                                                                                  Fantastic   A Top Performer!
DA Current Week Performance
                                                                                                                                                   Great      Exceeding Amazon Expectations
                                                                                                                                                    Fair      Meeting Amazon Expectations
                                                                                                                                                    Poor      Below Amazon Expectations
Drivers ranked by overall score, descending.
 #             Name                   Transporter ID   Overall Tier Delivered    Key Focus Area       DCR       DAR   SWC-POD   SWC-CC   SWC-SC   SWC-AD         DNRs      POD         CC
                                                                                                                                                                           Opps.      Opps.




                                                                                                  Page 3 of 7
                                     Case 2:19-bk-14989-WB         Doc 613 Filed 02/19/20 Entered 02/19/20 19:56:55                      Desc
                                                                   Main Document   Page 101 of 121
                                                                  SCBZ at DLA9 - Week 06
                                                                                                                             Fantastic       A Top Performer!
DA Trailing 6-Week Performance
                                                                                                                              Great          Exceeding Amazon Expectations
                                                                                                                               Fair          Meeting Amazon Expectations
                                                                                                                               Poor          Below Amazon Expectations
Drivers ranked by overall score, descending.
 #              Name                   Transporter ID   Average   DCR    DAR   SWC-POD       SWC-CC   SWC-SC   SWC-AD   High/Low Performer              Weeks
                                                          Tier                                                                Status            Fant. Great Fair     Poor




                                                                               Page 4 of 7
Case 2:19-bk-14989-WB   Doc 613 Filed 02/19/20 Entered 02/19/20 19:56:55   Desc
                        Main Document   Page 102 of 121




                                   Page 5 of 7
         Case 2:19-bk-14989-WB   Doc 613 Filed 02/19/20 Entered 02/19/20 19:56:55   Desc
                                 Main Document   Page 103 of 121


                      Metric Definitions and Weightings
Metric                                                                              Weighting




                                            Page 6 of 7
Case 2:19-bk-14989-WB   Doc 613 Filed 02/19/20 Entered 02/19/20 19:56:55   Desc
                        Main Document   Page 104 of 121




                                   Page 7 of 7
           Case 2:19-bk-14989-WB             Doc 613 Filed 02/19/20 Entered 02/19/20 19:56:55   Desc
                                             Main Document   Page 105 of 121



                                 DSP Delivery Excellence Performance
                                                                                             SCBZ at DPS1
                                                                                                 Week 06
                                                                                                      2020
Week 06 Performance
      Overall Standing                 Key Focus Areas                         Top Drivers
                                1. Attrition Rate
        Fantastic
                                2. Delivered and Received
 See details on next page       3. Customer Escalation Defect DPMO




Resources
  1   Delivery Excellence Performance Program Guide
  2   Delivery Excellence Performance Program Recorded Training Presentation
  3   eDriving Mentor Portal     eDriving Support Page
  4   Scorecard SOP

 Questions?
 - Discuss with your On-Road Area Manager
 - Leverage the resources in the links above.
 - Email the DSP Service Level Standards team (dsp-performance@amazon.com)




                                                             Page 1 of 8
       Case 2:19-bk-14989-WB      Doc 613 Filed 02/19/20 Entered 02/19/20 19:56:55        Desc
                                  Main Document   Page 106 of 121
                                       DSP Scorecard
                                                                            SCBZ at DPS1
                                                                                Week 06
                                                                                     2020
Overall Standing:   Fantastic
       Poor                     Fair                       Great       Fantastic   Fantastic Plus




                                                                                                    t




                                                                                                    t


                                                                                                    t




                                             Page 2 of 8
                                            Case 2:19-bk-14989-WB                Doc 613 Filed 02/19/20 Entered 02/19/20 19:56:55               Desc
                                                                                Main Document    Page 107 of 121
                                                                                SCBZ at DPS1 - Week 06
                                                                                                                                          Fantastic   A Top Performer!
DA Current Week Performance
                                                                                                                                           Great      Exceeding Amazon Expectations
                                                                                                                                            Fair      Meeting Amazon Expectations
                                                                                                                                            Poor      Below Amazon Expectations
Drivers ranked by overall score, descending.
 #             Name                   Transporter ID   Overall Tier Delivered    Key Focus Area   DCR   DAR   SWC-POD   SWC-CC   SWC-SC   SWC-AD         DNRs       POD        CC
Case 2:19-bk-14989-WB   Doc 613 Filed 02/19/20 Entered 02/19/20 19:56:55   Desc
                        Main Document   Page 108 of 121




                                   Page 4 of 8
                                     Case 2:19-bk-14989-WB         Doc 613 Filed 02/19/20 Entered 02/19/20 19:56:55                      Desc
                                                                   Main Document   Page 109 of 121
                                                                  SCBZ at DPS1 - Week 06
                                                                                                                             Fantastic       A Top Performer!
DA Trailing 6-Week Performance
                                                                                                                              Great          Exceeding Amazon Expectations
                                                                                                                               Fair          Meeting Amazon Expectations
                                                                                                                               Poor          Below Amazon Expectations
Drivers ranked by overall score, descending.
 #              Name                   Transporter ID   Average   DCR    DAR   SWC-POD       SWC-CC   SWC-SC   SWC-AD   High/Low Performer              Weeks
                                                          Tier                                                                Status            Fant. Great Fair     Poor




                                                                               Page 5 of 8
Case 2:19-bk-14989-WB   Doc 613 Filed 02/19/20 Entered 02/19/20 19:56:55   Desc
                        Main Document   Page 110 of 121




                                   Page 6 of 8
         Case 2:19-bk-14989-WB   Doc 613 Filed 02/19/20 Entered 02/19/20 19:56:55   Desc
                                 Main Document   Page 111 of 121


                      Metric Definitions and Weightings
Metric                                                                              Weighting




                                            Page 7 of 8
Case 2:19-bk-14989-WB   Doc 613 Filed 02/19/20 Entered 02/19/20 19:56:55   Desc
                        Main Document   Page 112 of 121




                                   Page 8 of 8
           Case 2:19-bk-14989-WB             Doc 613 Filed 02/19/20 Entered 02/19/20 19:56:55   Desc
                                             Main Document   Page 113 of 121



                                 DSP Delivery Excellence Performance
                                                                                             SCBZ at DSX1
                                                                                                 Week 06
                                                                                                      2020
Week 06 Performance
      Overall Standing                 Key Focus Areas                         Top Drivers
                                1. Attrition Rate
   Fantastic Plus
                                2. Delivered and Received
 See details on next page       3. Delivery Completion Rate




Resources
  1   Delivery Excellence Performance Program Guide
  2   Delivery Excellence Performance Program Recorded Training Presentation
  3   eDriving Mentor Portal     eDriving Support Page
  4   Scorecard SOP

 Questions?
 - Discuss with your On-Road Area Manager
 - Leverage the resources in the links above.
 - Email the DSP Service Level Standards team (dsp-performance@amazon.com)




                                                              Page 1 of 7
       Case 2:19-bk-14989-WB     Doc 613 Filed 02/19/20 Entered 02/19/20 19:56:55        Desc
                                 Main Document   Page 114 of 121
                                      DSP Scorecard
                                                                           SCBZ at DSX1
                                                                               Week 06
                                                                                    2020
Overall Standing:   Fantastic Plus
       Poor                    Fair                       Great       Fantastic   Fantastic Plus




                                            Page 2 of 7
                                            Case 2:19-bk-14989-WB                Doc 613 Filed 02/19/20 Entered 02/19/20 19:56:55                       Desc
                                                                                Main Document    Page 115 of 121
                                                                                SCBZ at DSX1 - Week 06
                                                                                                                                                  Fantastic   A Top Performer!
DA Current Week Performance
                                                                                                                                                   Great      Exceeding Amazon Expectations
                                                                                                                                                    Fair      Meeting Amazon Expectations
                                                                                                                                                    Poor      Below Amazon Expectations
Drivers ranked by overall score, descending.
 #             Name                   Transporter ID   Overall Tier Delivered    Key Focus Area       DCR       DAR   SWC-POD   SWC-CC   SWC-SC   SWC-AD         DNRs       POD        CC




                                                                                                  Page 3 of 7
                                     Case 2:19-bk-14989-WB         Doc 613 Filed 02/19/20 Entered 02/19/20 19:56:55                      Desc
                                                                   Main Document   Page 116 of 121
                                                                  SCBZ at DSX1 - Week 06
                                                                                                                             Fantastic       A Top Performer!
DA Trailing 6-Week Performance
                                                                                                                              Great          Exceeding Amazon Expectations
                                                                                                                               Fair          Meeting Amazon Expectations
                                                                                                                               Poor          Below Amazon Expectations
Drivers ranked by overall score, descending.
 #              Name                   Transporter ID   Average   DCR    DAR   SWC-POD       SWC-CC   SWC-SC   SWC-AD   High/Low Performer               Weeks




                                                                               Page 4 of 7
Case 2:19-bk-14989-WB   Doc 613 Filed 02/19/20 Entered 02/19/20 19:56:55   Desc
                        Main Document   Page 117 of 121




                                   Page 5 of 7
         Case 2:19-bk-14989-WB   Doc 613 Filed 02/19/20 Entered 02/19/20 19:56:55   Desc
                                 Main Document   Page 118 of 121


                      Metric Definitions and Weightings
Metric                                                                              Weighting




                                            Page 6 of 7
Case 2:19-bk-14989-WB   Doc 613 Filed 02/19/20 Entered 02/19/20 19:56:55   Desc
                        Main Document   Page 119 of 121




                                   Page 7 of 7
      Case 2:19-bk-14989-WB                     Doc 613 Filed 02/19/20 Entered 02/19/20 19:56:55                                                   Desc
                                                Main Document   Page 120 of 121



                                  PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
Foley & Lardner LLP, 555 South Flower Street, Suite 3300, Los Angeles, CA 90072-2411
A true and correct copy of the foregoing document entitled (specify): DEBTORS’ SUPPLEMENTAL BRIEF
(A) IN FURTHER SUPPORT OF THE DEBTORS’ EMERGENCY MOTION FOR PRELIMINARY INJUNCTION TO
PREVENT VIOLATION OF THE AUTOMATIC STAY, AND (B) IN OPPOSITION TO AMAZON LOGISTICS INC.’S
MOTION MODIFYING THE AUTOMATIC STAY; DECLARATION OF GEORGE VOSKANIAN will be served or was
served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated
below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
02/19/2020, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:




                                                                                                Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) 02/19/2020, I served the following persons and/or entities at the last known addresses in this bankruptcy case
or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first
class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.

Honorable Julia W. Brand
United States Bankruptcy Court
Central District of California
Edward R. Roybal Federal Building and Courthouse
255 E. Temple Street, Suite 1382
Los Angeles, CA 90012

                                                                                               Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) 02/19/2020, I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.




                                                                                               Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.
   02/19/2020               Sonia Gaeta                                        /s/ Sonia Gaeta
   Date                     Printed Name                                       Signature


              This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

June 2012                                    F 9013-3.1.PROOF.SERVICE
4811-1952-6069.1
      Case 2:19-bk-14989-WB                     Doc 613 Filed 02/19/20 Entered 02/19/20 19:56:55                                                   Desc
                                                Main Document   Page 121 of 121


1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):

Richard T Baum rickbaum@hotmail.com, rickbaum@ecf.inforuptcy.com
Michael Jay Berger michael.berger@bankruptcypower.com,
yathida.nipha@bankruptcypower.com;michael.berger@ecf.inforuptcy.com
Bradley E Brook bbrook@bbrooklaw.com, paulo@bbrooklaw.com;brookecfmail@gmail.com
Richard W Esterkin richard.esterkin@morganlewis.com
John-Patrick M Fritz jpf@lnbyb.com, JPF.LNBYB@ecf.inforuptcy.com
Riebert Sterling Henderson shenderson@gibbsgiden.com
Vivian Ho BKClaimConfirmation@ftb.ca.gov
Dare Law dare.law@usdoj.gov
Bret D Lewis Bretlewis@aol.com, bdlawyager@gmail.com
Ashley M McDow amcdow@foley.com,
sgaeta@foley.com;mhebbeln@foley.com;swilson@foley.com;jsimon@foley.com
Stacey A Miller smiller@tharpe-howell.com
Kevin H Morse kmorse@clarkhill.com, blambert@clarkhill.com
Shane J Moses smoses@foley.com, vgoldsmith@foley.com
Akop J Nalbandyan jnalbandyan@LNtriallawyers.com, cbautista@LNtriallawyers.com
Rejoy Nalkara rejoy.nalkara@americaninfosource.com
Anthony J Napolitano anapolitano@buchalter.com, IFS_filing@buchalter.com;salarcon@buchalter.com
Jennifer L Nassiri jennifernassiri@quinnemanuel.com
David L. Neale dln@lnbyb.com
Sean A OKeefe sokeefe@okeefelc.com, seanaokeefe@msn.com
Aram Ordubegian ordubegian.aram@arentfox.com
Hamid R Rafatjoo hrafatjoo@raineslaw.com, bclark@raineslaw.com;cwilliams@raineslaw.com
Gregory M Salvato gsalvato@salvatolawoffices.com,
calendar@salvatolawoffices.com;jboufadel@salvatolawoffices.com;gsalvato@ecf.inforuptcy.com
Daren M Schlecter daren@schlecterlaw.com, assistant@schlecterlaw.com
Jeffrey S Shinbrot jeffrey@shinbrotfirm.com, sandra@shinbrotfirm.com
Steven M Spector sspector@buchalter.com, IFS_efiling@buchalter.com;salarcon@buchalter.com
United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov
Kimberly Walsh bk-kwalsh@texasattorneygeneral.gov
Eric D Winston ericwinston@quinnemanuel.com
Eric K Yaeckel yaeckel@sullivanlawgroupapc.com




              This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

June 2012                                    F 9013-3.1.PROOF.SERVICE
4811-1952-6069.1
